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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JANE DOE on behalf of BABY DOE, a minor, and               Case No. __________
PATRICIA CAVALLARO-KEARINS, on behalf
of themselves and all others similarly situated,           CLASS ACTION COMPLAINT

                Plaintiffs,                                JURY TRIAL DEMANDED

                   v.

ANTHEM HEALTHCHOICE ASSURANCE,
INC., d/b/a ANTHEM BLUE CROSS AND BLUE
SHIELD, and d/b/a ANTHEM BLUE CROSS; and
ANTHEM HP, LLC, d/b/a ANTHEM BLUE
CROSS AND BLUE SHIELD HP, and d/b/a
ANTHEM BLUE CROSS HP,

                Defendant.



       Plaintiffs Jane Doe on behalf of her child Baby Doe, a minor, and Patricia Cavallaro-

Kearins bring this class action for damages, equitable relief, and injunctive relief against Anthem

HealthChoice Assurance, Inc., d/b/a Anthem Blue Cross and Blue Shield and d/b/a Anthem Blue

Cross; and Anthem HP, LLC, d/b/a Anthem Blue Cross and Blue Shield HP and d/b/a Anthem

Blue Cross HP (collectively referred to herein as “Defendant” or “Anthem”). Plaintiffs allege the

following based upon personal information as to allegations regarding themselves, on their own

investigation, and on the investigation of their counsel, and on information and belief as to all other

allegations.

                                    NATURE OF THE ACTION

       1.      There is a mental health crisis in this country and in this state. It is afflicting men

and women, children and adults, and people of all income levels and backgrounds. And it is

exacerbated by health insurance companies, like the Defendant, that mislead people in need of

qualified providers by publishing grossly inaccurate directories of doctors and therapists. These


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inaccurate directories – which purport to list qualified professionals who are supposedly in-

network with Defendant but are not – are known as “ghost networks.”

        2.   “Ghost networks” are directories provided by health insurers that list health care

providers that purportedly are in-network with their insurance plan, but in reality are not. These

ghost networks are also replete with errors and duplications, which make them inaccurate,

incomplete, deceptive, and misleading. Mental health provider directories are more likely than

those in any other medical specialty to be ghost networks.

        3.   The Defendant’s publication of an inaccurate provider directory is not just an

inconvenience for people searching for mental health providers; it is far more insidious and

costly. By publishing an inaccurate provider directory where the vast majority of doctors listed –

more than 80% – either don’t exist, are listed with non-working telephone numbers, or are listed

with inaccurate telephone numbers – making them virtually impossible to contact – or are not

actually in-network with Defendant, the Defendant did not just mislead people, but damaged

them.

        4.   These damages are not just financial but often contribute to exacerbating patients’

mental health problems. The people using the Defendant’s provider directory are often desperate

for mental health care for themselves, for their children, and for their loved ones. And the

inaccurate provider directory actually causes harm. Some patients, like the Plaintiffs, have had

their treatment delayed. Many, like the Plaintiffs, have had to utilize out-of-network doctors and

as a result have incurred thousands of dollars in mental health medical expenses.

        5.   Other patients have abandoned their search for care, resulting in serious mental

health consequences and complications.




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       6.    Mental health care is supposed to be covered by the Defendant’s insurance policy.

In reality, it is not: there are almost no mental health providers in New York who actually accept

the Defendant’s insurance, who are “in network,” and who accept new patients. And thus, the

promised coverage is largely illusory. When there are very few – or no – doctors who are in-

network with Defendant – or when doctors are in-network but are not within a reasonable

distance – such a network not only violates the law, regulations, standards, and guidance, it fails

the network adequacy common sense smell test.

       7.    The Defendant knowingly publishes an inaccurate provider directory; and it does so

for several reasons.

       8.    First, the Defendant publishes an inaccurate and misleading directory – which

contains thousands of providers who supposedly participate in the Defendant’s network but do

not – in order to attract potential customers. The Plaintiffs, and other members of the proposed

class, are participants in the Federal Employees Health Benefits (“FEHB”) Program. As such,

they – and every other federal employee eligible for the FEHB – have multiple health insurance

plan options. The Defendant competes against these other providers and does so by advertising

benefits of its particular plans. And by publishing a seemingly robust, if secretly inaccurate,

directory of participating providers, the Defendant is knowingly engaging in a deceptive

advertising campaign intended to lure people – like the Plaintiffs – into choosing one of its plans.

       9.    Second, by publishing a seemingly robust – but inaccurate – directory of providers,

the Defendant is deceptively trying to appear to comply with federal requirements that its offered

plans have an adequate network of providers who actually accept the Defendant’s insurance.

       10.   The Defendant’s promise of an adequate network of qualified providers is

deceptive advertising. The listings are inaccurate in numerous ways: some are listings of doctors




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who don’t exist. Others are listed with inaccurate or non-working telephone numbers – making

them impossible to reach. Many of the doctors listed are not part of Defendant’s network. Some

of the listings include incorrect specialties for the doctor. In sum, these are deceptive business

practices on the part of the Defendant.

       11.    By publishing telephone numbers that are inaccurate, the Defendant sends patients

on a wild goose chase searching for doctors covered by their plan. The time spent reaching

wrong numbers or encountering non-working numbers is not just valuable time wasted, it is

discouraging and contributes to patients abandoning their search for care. For people seeking

mental health care for themselves or their children, this wild goose chase for in-network doctors

is not small potatoes; it is a time-consuming, exhausting, frustrating experience that is

detrimental to their mental health.

       12.    Grossly inaccurate listings in a directory – and a directory essential for directing

patients to needed medical care – are a violation of the federal No Surprises Act, the federal

Mental Health Parity and Addiction Equity Act, the Defendant’s contractual obligations to

Plaintiffs, New York General Business Law §§ 349 and 350, New York Insurance Law § 4226,

and the New York State Department of Financial Services’ standards and guidance.

       13.    The Plaintiffs – and other members of the proposed class – have suffered real

injury and damages. The Plaintiffs have paid premiums for the Defendant’s insurance plan for

coverage that never existed or was grossly inadequate. The Defendant has failed to provide an

adequate network of mental health providers who actually accept the Defendant’s insurance or

offer appropriate types of care. The Plaintiffs also suffered significant financial damage by

having to pay thousands of dollars for out-of-network providers because there were no qualified

in-network providers within a reasonable travel radius. The Plaintiffs also wasted time and were




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frustrated by having to spend countless hours calling providers who the Defendant represented as

being qualified and participating in the Defendant’s network, only to find out that the phone

numbers listed by the Defendant were wrong, that the providers did not offer the services listed

in the Defendant’s provider directory, were not qualified, or did not participate in the

Defendant’s network.

                                  JURISDICTION AND VENUE

        14.   Federal law provides an essential element of Plaintiffs’ claims. Accordingly, this

Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1331.

        15.   This Court has personal jurisdiction over the Defendant because it can be found,

resides, and/or transacts business in New York State, and it is headquartered in the State of New

York and regularly conducts business in New York County.

        16.   Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b). The

Defendant is a resident of and headquartered in this Judicial District, it conducts business in this

Judicial District, and a significant portion of its activities took place within this Judicial District.

                                           THE PARTIES

I.      Plaintiffs

        17.   Plaintiff Jane Doe is a resident of New York. She has been a member of the

Standard Option Plan for more than five years.

        18.   Ms. Doe is the mother of 8-year-old Baby Doe who has been covered by the

Standard Option Plan for more than five years.

        19.   Plaintiff Patricia Cavallaro-Kearins is a resident of New York. She has been a

member of the Anthem health insurance plan known as the Blue Cross Blue Shield Service

Benefit Plan FEP Blue Standard Option (“Standard Option Plan”) since January 1, 2019.




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II.    Defendant

       20.   Defendant Anthem is a health insurance company licensed to do business in New

York. It is one of multiple health insurance companies with plans that are offered to federal

employees under the Federal Employees Health Benefits (“FEHB”) Program.

       21.   In New York, Defendant operates under several different entities and under various

trade names. Anthem HealthChoice Assurance, Inc. operates under the trade name Anthem Blue

Cross and Blue Shield in 17 southeastern counties. Anthem HP, LLC operates under the trade

name Anthem Blue Cross in 11 northeastern counties in New York.

       22.   Prior to changing its name to Anthem HealthChoice HMO, Inc. in 2024, it operated

as Empire HealthChoice Assurance, Inc.; and before that, as Empire HealthChoice Inc; and

before that, as Empire Blue Cross and Blue Shield. Its website is www.empireblue.com, which

when clicked brings the user to www.anthembluecross.com. These older names are relevant to

this complaint because some people, providers, and materials still refer to “Empire.”

                                BACKGROUND & CONTEXT

I.     The Mental Health Crisis in America

       A.      The Adult Mental Health Crisis

       23.   There is a mental health crisis in the United States. According to the National

Institute Mental Health National Survey on Drug Use and Health by the Substance Abuse and

Mental Health Service Administration of 2021, there were an estimated 57.8 million adults in the

U.S. with a mental illness. That is 22.8% of U.S. adults.1

       24.   Younger adults reported a higher prevalence of mental health problems:




1
 National Institute of Mental Health, Mental Illness Statistics,
https://www.nimh.nih.gov/health/statistics/mental-illness.


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          •     Ages 18–25: 33.7% of adults reported having a mental illness.

          •     Ages 26–49: 28.1% of adults reported having a mental illness.

          •     Ages 50+: 15.0% of adults reported having a mental illness.

          25.   Some 52.8% of the 57.8 million adults with any mental illness did not receive

mental health services within the previous year.2

          26.   Treatment rates for adults aged 18–25 were lower than for all other adults: some

55.4% of the age group went without treatment.3

          27.   In 2021, an estimated 14.1 million adults in the U.S. had a serious mental illness,

some 5.5% of the population.4

          28.   In total, 34.6% of those with serious mental illness did not receive mental health

services.5

          B.      The Child Mental Health Crisis

          29.   According to the Centers for Disease Control and Prevention (“CDC”), among

adolescents aged 12 to 17 years old:6

          •     15.1 percent have had a major depressive episode.

          •     36.7 percent have had persistent feelings of sadness or hopelessness.

          •     4.1 percent have had a substance use disorder.




2
    Id.
3
    Id.
4
    Id.
5
    Id.
6
 Rebecca H. Bitsko et. al., Mental Health Surveillance Among Children – United States, 2013–
2019, Ctrs. For Disease Control and Prevention (2022),
https://www.cdc.gov/mmwr/volumes/71/su/su7102a1.htm (citations omitted).


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           •     1.6 percent have had an alcohol use disorder.

           •     3.2 percent have had an illicit drug use disorder.

           •     18.8 percent seriously considered attempting suicide.

           •     15.7 percent made a suicide plan.

           •     8.9 percent attempted suicide.

           •     2.5 percent made a suicide attempt requiring medical treatment.

           30.   The situation is so acute that the Surgeon General of the United States has

described mental health as “the defining public health crisis of our time,” and warned of the

“devastating effects” of mental health challenges on young people.7 This came as the suicide rate

for young Americans jumped by 57 percent from 2001 to 2018, and pediatric visits for self-harm

rose by 329 percent from 2007 to 2016.8 The Surgeon General released a rare Advisory9 titled

Protecting Youth Mental Health urging that “every child ha[ve] access to high-quality,

affordable, and culturally competent mental health care.”10




7
 Matt Richtel, The Surgeon General’s New Mission: Adolescent Mental Health, N.Y. Times,
(Mar. 21, 2023), https://www.nytimes.com/2023/03/21/health/surgeon-general-adolescents-
mental-health.html.
8
 Bommersbach et al., National Trends in Mental Health-Related Emergency Department Visits
Among Youth, 2011-2020, J. of the Am. Med. Ass’n (May 2, 2023),
https://pubmed.ncbi.nlm.nih.gov/37129655/.
9
  “A Surgeon General’s Advisory is a public statement that calls the American people’s attention
to an urgent public health issue … . Advisories are reserved for significant public health
challenges that need the nation’s immediate awareness and action.” Protecting Youth Mental
Health: The U.S. Surgeon General's Advisory, Off. of the Surgeon Gen. (2021),
https://www.hhs.gov/sites/default/files/surgeon-general-youth-mental-health-advisory.pdf.
10
     Id.


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         31.   Compounding this crisis are serious barriers to accessing needed mental health

treatment. The CDC estimates that of the 1 in 5 children who have a mental, emotional, or

behavioral disorder, only approximately 20 percent receive care from a mental health provider.11

         32.   Non-white and uninsured children are even less likely to receive mental health care

treatment.12 In New York City, the disparate impact is great, with only approximately 11 percent

of Asian American and Pacific Islander children reporting being connected to mental health care,

19 percent of Black children, and 20 percent of Latinx children.13

         33.   The consequences of untreated mental illness in children and adolescents are

profound and are associated with school failure, teenage pregnancy, unstable employment,

substance use, violence including suicide and homicide, and poor medical outcomes.14

         C.     The Mental Health Crisis in New York

         34.   According to Mental Health America, in 2022, an estimated 19.5% of adults in

New York, approximately 2,972,000 people, suffered from a mental illness.15


 Ctrs. for Disease Control and Prevention, Improving Access to Care, Children’s Mental
11

Health, Children’s Mental Health, https://www.cdc.gov/childrensmentalhealth/access.html
12
   Mental Health Data Dashboard, NYC Mayor’s Off. of Cmty Mental Health,
https://mentalhealth.cityofnewyork.us/dashboard/; see also Janet Cummings et al., Geographic
Access to Specialty Mental Health Care Across High-and Low-Income US Communities, JAMS
Psychiatry, (May 2017), https://pubmed.ncbi.nlm.nih.gov/28384733/ (“When examining the
distribution of mental health professionals, 25.3% of the communities (2014 of 7959) in the
highest income quartile had a mental health specialist physician practice vs 8.0% (637 of 7959)
of those in the lowest income quartile… .”).
13
  Mental Health Data Dashboard, supra note 12. These figures represent high school students
who got help from a professional counselor, social worker, or therapist for an emotional or
personal issue in the last 12 months.
14
  School-Based Mental Health: Pediatric Mental Health Minute Series, Am. Academy of
Pediatrics, https://www.aap.org/en/patient-care/mental-health-minute/school-based-mental-
health/.
15
     Mental Health America, Adult Data 2022, https://www.mhanational.org/issues/2022/mental-
                                                                                     (continued…)


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       35.   According to the Kaiser Family Fund mental health survey of 2023:

       •     28.8% of New York adults reported symptoms of anxiety disorder.

       •     19.4% of New York adults reported symptoms of depressive disorder.

       •     31.4% of New York adults reported symptoms of anxiety or depressive disorder.16

II.    Federal and State Requirements of Health Insurers

       A.      Federal and New York State Law Impose Additional Obligations on Health
               Plans to Ensure Accuracy of Provider Directories

       36.   As discussed above, the federal government has expressed serious concern about

the prevalence of ghost networks and the significant barriers they create to mental health care. In

addition to the congressional inquiries and hearings, federal and state laws and regulations have

been promulgated in an effort to protect consumers from the harms of ghost networks.

       37.   In 2022, Congress passed the federal No Surprises Act, which includes a section

entitled “Protecting Patients and Improving the Accuracy of Provider Directory Information”

that establishes requirements for provider directories to help protect consumers from surprise

bills from out-of-network providers.17

       38.   The No Surprises Act requires health plans to publish and maintain accurate

provider directories; specifically, insurance companies must update and verify their plans’




health-america-adult-data#six.
16
   KFF, Adults Reporting Symptoms of Anxiety or Depressive Disorder During COVID-19
Pandemic, https://www.kff.org/other/state-indicator/adults-reporting-symptoms-of-anxiety-or-
depressive-disorder-during-covid-19-pandemic/?currentTimeframe=0&selectedRows=%7B%22
states%22:%7B%22new-york%22:%7B%7D%7D%7D&sortModel=%7B%22colId%22:%22
Location%22,%22sort%22:%22asc%22%7D.
17
   Pub. L. No. 116-260, 134 Stat. 1182, Division BB, (2020),
https://www.congress.gov/bill/116th-congress/house-bill/133/text; adding 42 U.S.C. § 300gg, 29
U.S.C. § 1185i, and 26 U.S.C. § 9820.


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provider directories at least every 90 days.18 Where plans are unable to verify provider data, they

must establish a procedure to remove providers from their directories.19 Health plans must also

update provider information within two days of receiving an update from a provider.20

           39.   The law also imposes obligations on health insurers directly towards their

members. When a member requests information about whether a provider is in-network, the plan

must respond within one day of the request.21 And where a member relies on inaccurate provider

directory information and mistakenly receives services from an out-of-network provider, the

member will not be responsible for cost sharing greater than in-network cost sharing.22

           40.   A health plan is also required to remove providers where it cannot verify the

provider’s status, independently of provider obligations.23

           41.   New York State passed its own no-surprises law in 2015, which also requires

health plans to ensure the accuracy of their provider directories. Under New York law, health

insurers are required to update their provider directories within an even shorter time period –

within 15 days of the “addition or termination of a provider from the insurer’s network or a

change in a physician’s hospital affiliation” – and otherwise update their plans’ directories




18
     42 U.S.C. § 300gg-115(a)(2)(A).
19
     42 U.S.C. § 300gg-115(a)(2)(B), (C).
20
     Id.
21
     42 U.S.C. § 300gg-115(a)(3)(A), (B).
22
     42 U.S.C. § 300gg-115(b)(1)(A), (B).
23
  In addition, the terms of the contract between provider and plan may require the plan to
remove the provider if the contract terminates.


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annually.24 State law also requires health plans to include in their directories whether a provider

is accepting new patients and any restrictions on a provider’s availability.25

           42.   Since state laws are not pre-empted by the No Surprises Act,26 and as made clear

by New York’s Department of Financial Services, health plans in New York are still required to

update their directories within 15 days of a provider change.27

           43.   These federal and state laws reflect governments’ recognition of the harmful

consequences of inaccurate provider directories. Despite these legislative efforts to shield

consumers from ghost networks, surprise bills, and inadequate in-network care, insurance

companies in general, and the Defendant in particular, continue to violate these laws.28




24
     N.Y. Ins. Law § 3217-A(a)(17).
25
     Id.
26
  “Nothing in this section shall be construed to preempt any provision of state law relating to
health care provider directories.” 42 U.S.C. § 300gg-139(e).
27
   NYS Dept. Fin, Insurance Circ. Ltr, No. 12 (Dec. 29, 2021),
https://www.dfs.ny.gov/industry_guidance/circular_letters/cl2021_12 (“[T]he NSA does not
preempt any provision of state law relating to health care provider directories. Insurance Law
§§ 3217-a(a)(17) and 4324(a)(17) and Public Health Law § 4408(1)(r) require an issuer to
annually update its provider directory, with certain updates to the provider directory on the
issuer’s website completed within 15 days as described above. The Insurance Law and Public
Health Law requirements for provider directory content and updates within 15 days continue to
apply at this time.”).
28
   See, e.g., Neel M. Butala et al., Research Letter: Consistency of Physician Data Across Health
Insurer Directories, JAMA 329(10), 842 (Mar. 14, 2023),
https://jamanetwork.com/journals/jama/article-abstract/2802329 (finding even after passage of
No Surprises Act that “[i]n examining directory entries for more than 40% of US physicians,
inconsistencies were found in 81% of entries across 5 large national health insurers”).


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          B.     Federal and New York State Law Require Health Plans to Ensure Sufficient
                 In-Network Mental Health Providers

          44.   There is an additional set of federal and state laws implicated by inaccurate

provider directories: “network adequacy” laws require that health plans offer a network that

includes a “sufficient” number of in-network providers.

          45.   The Affordable Care Act first established this “network adequacy” framework,

requiring that all qualified health plans29 ensure the provision of a network that is “sufficient in

number and types of providers, including providers that specialize in mental health and substance

use disorder services, to ensure that all services will be accessible without unreasonable delay.”30

          46.   New York State adopted this standard and applied it broadly to a majority of health

plans offered in the state. New York law requires health plans to “ensure that the network is

adequate to meet the health needs of insureds and provide an appropriate choice of providers

sufficient to render the services covered under the policy or contract.”31

          47.   Specifically, New York guidance provides “preferred time and distance standards,”

advising that mental health providers should be accessible within 30 minutes by public

transportation and/or 30 miles by car.32 The guidance also states that, “to be considered

accessible, the network should contain a sufficient number and array of providers to meet the

diverse needs of the insured population and to ensure that all services will be accessible without




29
     “Qualified health plans” are plans sold on a state or federal exchange. 42 U.S.C. § 18021.
30
     45 C.F.R. § 156.230.
31
     N.Y. Ins. Law § 3241(a).
32
   See Network Adequacy Standards and Guidance, N.Y. State Dep’t of Fin. Servs.,
https://www.dfs.ny.gov/apps_and_licensing/health_insurers/nyoon_law_guidance_questions_fed
eral_ns_act.


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undue delay. This includes being geographically accessible (i.e., meeting time/distance

standards) and being accessible for people with disabilities.”33

           48.   The Defendant is in violation of federal law requiring network adequacy.

           49.   As discussed below, a significant collateral consequence of an inaccurate, inflated

provider directory is that an insurance plan appears to meet network adequacy requirements,

when it does not.

           50.   This, too, was highlighted during the recent Senate Finance Committee hearing:34

       SENATOR WARREN: Do these ... plans stand to gain anything from
having inaccurate information? In other words, is it inaccurate because you just
haven’t spent enough money to make it accurate, or is it inaccurate by design?

       MS. GILIBERTI (the Chief Public Policy Officer of Mental Health
America): Well, I think there are advantages they have when their directories are
unfortunately inaccurate. They use those directories for network adequacy
standards.35

III.       Ghost Networks

           A.     The United States Senate Finance Committee Ghost Networks Hearings

           51.   In May 2023, the United States Senate Finance Committee held a hearing on this

exact topic, titled “Barriers to Mental Health Care: Improving Provider Directory Accuracy to

Reduce the Prevalence of Ghost Networks.”36 One testifying witness, a former official in the



33
     Id.
34
  This exchange focused on Medicare Advantage plans in particular, but it would apply to many
other health plans.
35
   Barriers to Mental Health Care: Improving Provider Directory Accuracy to Reduce the
Prevalence of Ghost Networks, U.S. Senate Fin. Comm. (May 3, 2023),
https://www.finance.senate.gov/hearings/barriers-to-mental-health-care-improving-provider-
directory-accuracy-to-reduce-the-prevalence-of-ghost-networks [hereinafter Senate Hearings on
Mental Health Care](testimony of Senator Elizabeth Warren).
36
     See id.


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Obama Administration, summarized her Sisyphean experience trying to find a mental health

provider through her insurance plan’s directory:

          I was left to navigate the … provider directory to find a psychiatrist. Calling
          psychiatrists within D.C. and Maryland, selected out of what was like a
          digital white-pages phone book, turned into one rejection after another. Call
          after call resulted in the following types of responses:

                     “Who? Hmm, s/he doesn’t work here. No, I don’t know
                     where s/he works now.”

                     “Who? I don’t know who that is, not sure they ever
                     worked here. Hold please ... . [dial tone].”

                     Recorded message: “Dr _____ is no longer accepting
                     new patients. If this is an emergency, hang up and call
                     911.”

                 I spent countless days and hours scouring the network, despite
                 working long hours in a high-level management position. When was
                 there time to find a psychiatrist? I had to make the time, though, as
                 my job, and more importantly my life, depended on it. Continued
                 attempts finally led me to a psychiatrist who was taking new
                 patients. Success, though, was short-lived. In our phone
                 conversation to set up an initial in-person appointment, I was asked
                 about my diagnosis. I had no worry or fear; this doctor, this
                 psychiatrist, was taking new patients. I respond without hesitation –
                 schizophrenia. A pause, a long silence ... and then the response:

                     “Oh....I do not take patients with a schizophrenia
                     diagnosis.”

                 I ask if they have any suggestions or referrals to help me find a
                 doctor who does. The answer is:

                     “Check the provider directory.”37

          52.   The prevalence, and degree, of ghost networks of mental health providers is

nothing short of astonishing. A study recently conducted by the Senate Finance Committee

majority staff reviewed 12 different directories across six states and were only able to make



37
     Id. (Testimony of Keris Jän Myrick).


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appointments with 18 percent of the mental health providers contacted38 – i.e., over 80 percent of

the listed in-network providers were in reality “either unreachable, not accepting new patients, or

not in-network.”39 For one state, no successful appointments could be made.40 Another study

from 2015 resulted in an appointment with a psychiatrist only 26 percent of the time.41

           53.     Almost all people seeking a mental health provider on a ghost network spend

countless, difficult hours searching for care.42 This is dangerously exacerbated by the fact that

the person may be experiencing a mental health emergency. As explained by Dr. Robert

Trestman, representing the American Psychiatric Association, at the Senate Finance Committee

hearing:

                 For those who are healthy and well educated, going through an
                 inaccurate provider list and being told repeatedly that “we are not taking
                 new patients,” “this provider has retired,” “we no longer accept your
                 insurance,” or leaving a message with no one returning the call is at best
                 frustrating. For people who are experiencing significant mental illness
                 or substance use disorders, the process of going through an inaccurate
                 provider directory to find an appointment with someone who can help
                 them is at best demoralizing and at worst set up to precipitate clinical
                 deterioration and a preventable crisis. Many are already experiencing
                 profound feelings of worthlessness, fear, grief from loss and trauma,
                 and/or the impact of substance use; some are in crisis and suicidal.
                 Patients have told me that they felt rejected repeatedly or that somehow
                 they themselves were at fault. Even when they make the effort to reach

38
  Majority Study Findings: Medicare Advantage Plan Directories Haunted by Ghost Networks,
Senate Comm. on Finance (May 3, 2023), https://www.finance.senate.gov/imo/media/
doc/050323 Ghost Network Hearing - Secret Shopper Study Report.pdf [hereinafter Secret
Shopper Study Report].
39
     Id. at 1.
40
     Id. at 7.
41
   Malowney et al., Availability of Outpatient Care From Psychiatrists: A Simulated-Patient
Study in Three U.S. Cities, Psychiatry Online (2015),
https://ps.psychiatryonline.org/doi/full/10.1176/appi.ps.201400051.
42
   In the study conducted by the Senate Finance Committee majority staff, “[c]all times ranged
from 1-3 hours to contact 10 listings per plan.” See Secret Shopper Study Report, supra note 38.


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               out to find help, something that can be very difficult anyway, their
               efforts to cull through an inaccurate provider list results in more
               rejection and failure, exacerbating these feelings. Some give up looking
               for care. Others delay care.43

         54.     At the same hearing, Senator Thom Tillis spoke of his own personal experience

seeking care when suffering from mental illness:

               Back in 2007, I was diagnosed with an illness that required me to take
               medications that caused me to have pharmacologically induced mania
               followed by clinical depression, so I got a window into mental health
               that I consider to be a blessing … . When I’m in mania[,] I simply would
               not have sought a health care or a behavioral health professional. And
               when I was in depression, if I went to a website and went through [the
               provider directory], I’d have said what’s the use. So we need to
               understand this has real life consequences. And you’re in the worst
               possible state to have the complexity, and maybe even in the middle of
               depression, finding out that you have to pay out of network costs, so
               now you’ve got financial stressors, you’ve got whatever the underlying
               condition is, the insurers and providers, everybody needs to understand
               that.44

         55.     The government’s findings described above are disturbing, and the barriers to

mental health care caused by ghost networks are devastating. Obstructions to treatment manifest

in several ways. Because people in need are unable to find a mental health provider covered by

their insurance on their plan’s provider directory, urgent mental health treatment is often delayed

and, at worst, abandoned completely. Others seeking care rely on the directory to find a provider,

only to find out later that the provider is not covered by their plan, and so they are subject to

significant, unexpected costs. And, in other cases, people urgently seeking care knowingly settle

for seeing an out-of-network provider because they desperately need help, and it is their only

option. They are left to figure out how to shoulder the often-exorbitant costs that follow.


43
  Senate Hearings on Mental Health Care, supra note 35 (Testimony of Robert L. Trestman,
PhD, MD).
44
     Senate Hearings on Mental Health Care, supra note 35 (Testimony of Senator Thom Thillis).


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         56.     Yet another consequence of a ghost network is that individuals selecting an

insurance plan in the first place may incorrectly choose that plan either because the provider they

already see is listed on the plan’s directory or because there appears to be a robust network of

potential providers. The plan’s ghost network is the enticement: but for a plan’s ghost network,

consumers may have made different health care and financial decisions.

         57.     Though the effects of ghost networks are far-reaching and complex, the wrongful

conduct at issue is simple: insurance companies’ ghost networks mislead consumers to buy

health plans that they say include a network of providers when they do not. As Senator and

Chairman of the Senate Finance Committee Ron Wyden stated in his opening remarks at the

Senate’s hearing on ghost networks, insurance companies are at fault and their wrongdoing is

clear:

               [W]hen insurance companies host ghost networks, they are selling
               health coverage under false pretenses, because the mental health
               providers advertised in their plan directories aren’t picking up the phone
               or taking new patients. In any other business, if a product or service
               doesn’t meet expectations, consumers can ask for a refund….

               In a moment of national crisis about mental health, with the problem
               growing exponentially during the pandemic, the widespread existence
               of ghost networks is unacceptable. When someone who’s worried about
               their mental health or the mental health of a loved one finally works up
               the courage to pick up the phone and try and get help, the last thing they
               need is a symphony of “please hold” music, non-working numbers, and
               rejection.

               Just take a moment and think about the impact that might have on an
               individual who’s already in a challenging situation. It’s not hard to
               imagine how many Americans simply give up and go on struggling
               without the help they need….

               I want to conclude by talking about accountability. My view is that
               insurance companies have gotten a free pass for too long letting ghost
               networks run rampant. If a student were writing an essay and 80 percent
               of their citations were incorrect or made up, they’d receive an “F.” If a
               business gave the SEC false or incorrect information, it would face
               extremely severe consequences. So in my view insurance companies


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             should face strict consequences if their products don’t live up to the
             billing. That’s the least that should be done….45

       B.       The New York Attorney General’s Study

       58.     In December 2023, the New York State Office of the Attorney General (“OAG”)

issued a report entitled, “Inaccurate and Inadequate: Health plans’ mental health provider

network directories.” This report was an overview of the provider directories provided by the

health insurance companies operating in New York, including Defendant Anthem.46

       59.     According to the report, the OAG “surveyed nearly 400 mental health providers

listed on health plans’ networks and found that the overwhelming majority, 86 percent, were

‘ghosts,’ meaning they were unreachable, not-in-network, or not accepting new patients.

Inaccurate network directories are worsening the statewide mental health crisis and

disproportionately impact marginalized communities, leading to adverse health outcomes, and

increasing costs for patients.”47

       60.     The OAG stated:

       New Yorkers struggling with mental health conditions rely on health plan
provider directories to access affordable, quality health care services. However,
when provider directories contain inaccurate listings or unavailable providers –
known as ghost networks – patients may be unable to access treatment using their




45
   Wyden Calls for Action to Get Rid of Ghost Networks, Releases Secret Shopper Study, U.S.
Senate Fin. Comm., Chairman Ron Wyden (May 3, 2023),
https://www.finance.senate.gov/imo/media/doc/Wyden%20Ghost%20Networks%20Hearing%20
Remarks%205.3.23.pdf.
46
   Office of the New York State Attorney General Letitia James, Inaccurate and Inadequate:
Health Plans’ Mental Health Provider Network Directories (2023),
https://ag.ny.gov/sites/default/files/reports/mental-health-report_0.pdf.
47
   Press Release, Attorney General James Uncovers Major Problems Accessing Mental Health
Care through Insurance Companies (Dec. 7, 2023), https://ag.ny.gov/press-
release/2023/attorney-general-james-uncovers-major-problems-accessing-mental-health-care.


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health insurance benefits. As a result, they are forced to choose between paying
out-of-pocket, which is not possible for many, or forgoing treatment altogether.48

           C.     The OAG’s Secret Shopper Survey of Defendant Anthem

           61.   Defendant Anthem was one of 13 health providers in New York that were the

subject of the OAG’s investigation.

           62.   The OAG tried to reach 13 mental health providers for adults who are supposedly

in the Anthem plan’s network. The OAG found that only five were actually in-network; and of

those, the OAG was only able to make in-person appointments at two. The OAG concluded that

the “ghost percentage” of Defendant Anthem for adults was 67%.

           63.   The OAG’s findings for providers who treated children was even worse. The OAG

called seven providers who were supposedly in-network with the Anthem plan and treated

children. Only four of the seven were actually in-network; and the OAG was not able to make an

appointment with any of them. The OAG reported Anthem as having an abysmal 100% ghost

network for children.

           D.     Additional Investigations of Ghost Networks

           64.   On a national scale, the issue of ghost networks and their attendant harms to

consumers at large has been reported by The New York Times,49 The Washington Post,50 and

many other significant publications.51


48
     Id.
49
  Jay Hancock, Insurers’ Flawed Directories Leave Patients Scrambling for In-Network
Doctors, N.Y. Times (Dec. 3, 2016), https://www.nytimes.com/2016/12/03/us/inaccurate-doctor-
directories-insurance-enrollment.html.
50
  Katherine Ellison, 73 doctors and none available: How ghost networks hamper mental health
care, WASH. POST (Feb. 19, 2022), https://www.washingtonpost.com/health/2022/02/19/mental-
health-ghost-network/.
51
     See, e.g., Abigail Burman, Laying Ghost Networks to Rest: Combatting Deceptive Health Plan
                                                                                         (continued…)


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          65.       The American Medical Association co-authored a white paper on some of the

financial and non-financial injuries from ghost networks:

                  When directory information is inaccurate, patients experience
                  inconvenience (non-working phone numbers, longer time to find the
                  right practitioner), and financial consequences (unplanned out of pocket
                  expenses). Directory errors may also result in a patient selecting a health
                  plan based on inaccurate information about which clinicians are in-
                  network.52

          66.       A March 2022 report by the United States Government Accountability Office

corroborated the findings outlined above, concluding that “consumers with coverage for mental

health care experience challenges finding in-network providers[,]”53 and that “[i]naccurate or

out-of-date information on which mental health providers are in a health plan’s network

contributes to ongoing access issues for consumers and may lead consumers to obtain out-of-

network care at higher costs to find a provider.”54

          67.       The federal Centers for Medicare & Medicaid Services similarly identified network

directory inaccuracies, including those “with the highest likelihood of preventing access to

care.”55


Provider Directories, 40 Yale L. & Pol’y Rev. 78, 85 (2021).
52
   Improving Health Plan Provider Directories, CAQH & Am. Med. Ass’n., 3,
https://www.caqh.org/sites/default/files/other/CAQH-
AMA_Improving%20Health%20Plan%20Provider%20Directories%20Whitepaper.pdf (“Among
the more common resources that patients use are health plan provider directories which,
according to two surveys conducted in 2020, more than half of patients use to select a
physician.”) (citations omitted).
53
   Mental Health Care Access Challenges for Covered Consumers and Relevant Federal Efforts,
U.S. Gov’t Accountability Office, Report to the Chairman, Committee on Finance, U.S. Senate,
2, (Mar. 2022), https://www.gao.gov/assets/gao-22-104597.pdf.
54
     Id. at 12.
55
   Online Provider Directory Review Report, Ctrs. for Medicare & Medicaid Servs., 1,
https://www.cms.gov/Medicare/Health-Plans/ManagedCareMarketing/Downloads/
                                                                                                (continued…)


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       68.    In a study of adolescent psychiatrists in particular, researchers posing as parents

seeking care for a child with depression were only able to obtain an appointment 17 percent of

the time.56

       69.    The crisis in access to mental health treatment is exacerbated by barriers to care

imposed by health insurance companies, including the prevalence of ghost networks.57

                                  FACTUAL ALLEGATIONS

I.     Plaintiffs’ Needs for Mental Health Care

       A.      Ms. Cavallaro-Kearins

       70.    Plaintiff Patricia Cavallaro-Kearins is a resident of New York. She has been a

member of the Anthem health insurance plan known as the Blue Cross Blue Shield Service

Benefit Plan FEP Blue Standard Option (“Standard Option Plan”) since January 1, 2019. Ms.

Cavallaro-Kearins has paid a monthly premium of $571.63 for the Anthem Standard Option plan

since her enrollment and has spent thousands of dollars on those premiums.




Provider_Directory_Review_Industry_Report_Round_3_11-28-2018.pdf.
56
   Shireen Cama et al., Availability of Outpatient Mental Health Care by Pediatricians and Child
Psychiatrists in Five U.S. Cities, Int’l J. Health Serv. 47(4) (2017),
https://pubmed.ncbi.nlm.nih.gov/28474997/ (studying availability of outpatient pediatrician and
child psychiatry availability and finding that “[a]ppointments were obtained with 40% of the
pediatricians and 17% of the child psychiatrists. The mean wait time for psychiatry appointments
was 30 days longer than for pediatric appointments. Providers were less likely to have available
appointments for children on Medicaid.”).
57
   See, e.g., Katherine Ellison, 73 doctors and none available: How ghost networks hamper
mental health care, WASH. POST (Feb. 19, 2022),
https://www.washingtonpost.com/health/2022/02/19/mental-health-ghost-network/; Jack Turban,
Ghost networks of psychiatrists make money for insurance companies but hinder patients’ access
to care, State News (June 17, 2019), https://www.statnews.com/2019/06/17/ghost-networks-
psychiatrists-hinder-patient-care/ (“The numbers, however, never seem as bad for other
specialties as they do for psychiatry.”).


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       71.    Ms. Cavallaro-Kearins relied on Anthem’s representations – through its online

advertising, its website, its online directory, and other Anthem resources – when choosing which

health insurance plan to enroll in, and in utilizing the plan. These resources include Anthem’s

“Benefits at a Glance,”58 the “Benefit Summary Book,”59 the “Service Benefit Plan”60 (also

known as the “brochure” and “official statement of benefits”), and the “Find a Doctor” online

resource.61 She specifically relied on Anthem’s representations that it offered an adequate

network of mental health providers.

       72.    Ms. Cavallaro-Kearins has been medically diagnosed with attention deficient

hyperactivity disorder (“ADHD”). She requires mental health care and pharmaceutical drugs to

treat her condition.

       73.    In 2020, with the onset of the COVID-19 pandemic, Ms. Cavallaro-Kearins’

ADHD was worsening and coupled with increasing anxiety. She decided that she must seek care

for both her anxiety and ADHD. Because ADHD medications are controlled substances, the care

had to be provided by a provider licensed to prescribe such medication such as a psychiatrist or

other medical doctor.




58
  Blue Cross Blue Shield Federal Employee Program, 2024 Benefits At A Glance,
www.fepblue.org/-/media/PDFs/Brochures/508-2024-Benefits-at-aGlance.pdf [hereinafter
Benefits at a Glance].
59
   Blue Cross Blue Shield Federal Employee Program, 2024 Benefit Summary Book,
www.fepblue.org/-/media/PDFs/Brochures/2024/508_2024_BenefitSummaryBook_
interactive.pdf [hereinafter Benefit Summary Book].
60
  Blue Cross Blue Shield Federal Employee Program, Blue Cross and Blue Shield Service
Benefit Plan (FEP Blue Standard and FEP Blue Basic Option), www.fepblue.org/-
/media/PDFs/Brochures/Standard-and-Basic-Option-brochure-2024.pdf [hereinafter Brochure].
61
   Blue Cross Blue Shield Federal Employee Program, Find A Doctor,
https://www.fepblue.org/find-doctor.


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       74.   As advertised by her insurance plan and as she would with other health care, Ms.

Cavallaro-Kearins turned to her insurance’s online provider directory of in-network providers to

find a psychiatrist. She began to call providers. She repeatedly found that many providers

included in the directory were listed with inaccurate telephone numbers – making it impossible

to reach them; others did not practice the specialties listed for them in the directory; and many

simply did not accept her Anthem insurance. She spent hours, days, and months calling providers

and could not find a single available, in-network provider using Anthem’s online provider

directory.

       75.   Frustrated, but determined to find care, she reached out to Anthem not once, but

twice to ask for an updated list of in-network providers. Ms. Cavallaro-Kearins began calling

providers on those lists. And once again, she was unable to find an available in-network

provider.

       76.   The inaccurate provider directory delayed her treatment and left her with two

options: forgoing essential medical care or paying out of pocket for treatment. She needed the

care and had to resort to paying out of pocket for out-of-network providers because there were no

in-network providers within a reasonable distance of her home. Ms. Cavallaro-Kearins had to

spend thousands of dollars on out-of-network providers. And the reimbursement from Anthem

was a tiny fraction of her out-of-pocket costs.

       77.   Ms. Cavallaro-Kearins first turned to “Done.,” an online ADHD assessment and

prescription service. She used “Done.” for multiple months paying a monthly subscription for

her medication management.

       78.   However, this treatment was not sufficient to address her ongoing anxiety and she

wanted to be seen regularly by a physician for her ADHD and related medication management.




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       79.   She once again turned to Anthem’s online provider directory and was again unable

to find an available in-network provider. She was again left with no other option than to go

out-of-network.

       80.   In September 2021, Ms. Cavallaro-Kearins began seeing an out-of-network

provider, paying $240 a week out-of-pocket and upfront. From September 2021 to February

2022, she paid $240 a week and had to mail the requests for reimbursement. On numerous

occasions, Anthem responded to her requests by saying that it never received the requests for

reimbursements. Two to three times Ms. Cavallaro-Kearins had to mail in the statements,

increasing her anxiety, stress, and frustration while paying out of pocket for mental health

services that should have been covered by her insurance to begin with.

       81.   Because of the significant out-of-pocket expense of being treated by an out-of-

network provider, Ms. Cavallaro-Kearins continued to try to use Defendant’s directory

throughout the period of October 2021 through February 2022 and to the present to try to find in-

network providers. Throughout this period from October 2021 through the present, Ms.

Cavallaro-Kearins found the Defendant’s provider directory to be grossly inaccurate.

       82.   She needed the care, but the out-of-network costs were not sustainable. For this

reason, Ms. Cavallaro-Kearins stopped going to the out-of-network psychiatrist.

       83.   When she had to stop treatment, she turned to the provider directory again, and was

yet again unable to find an available, in-network provider. Periodically – holding on to hope that

Anthem may have finally posted an accurate directory and driven by essential need for treatment

– she picked up the phone and began calling from the list. But she has yet to find an available, in-

network doctor using Anthem’s provider directory.




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        84.   She has been unable to find a psychiatrist in-network, and only recently was able to

find and see an in-network nurse practitioner.

        B.     Baby Doe

        85.   Plaintiff Jane Doe is a resident of New York and the mother of 8-year-old Baby

Doe. Both Jane Doe and Baby Doe have been enrolled in the Standard Option Plan for more than

five years.

        86.   Ms. Doe has paid a monthly premium for the Standard Option Plan since her

enrollment, and she has spent thousands of dollars on those premiums.

        87.   Ms. Doe relied on Anthem’s representations through its online advertising, its

website, its online directory, and other Anthem resources when choosing which health insurance

plan to enroll in, and in utilizing the plan. These resources include Anthem’s “Benefits at a

Glance,” the “Benefit Summary Book,” the “Service Benefit Plan” (also known as the

“brochure” and “official statement of benefits”), and the “Find a Doctor” online resource. She

specifically relied on Anthem’s representations that it offered an adequate network of in-network

mental health providers.

        88.   Baby Doe has been diagnosed with an autism spectrum disorder and requires

regular occupational, speech, and mental health treatment by qualified mental health providers.

        89.   Plaintiff Jane Doe started looking for essential mental health care for Baby Doe in

2018.

        90.   She turned to Anthem’s online provider directory and began to call the listed

providers using the names and numbers posted on the website.

        91.   She repeatedly found that the providers included in the directory were listed with

inaccurate telephone numbers; did not practice the specialties listed for them in the directory;

were not in-network; or did not accept her Anthem insurance. When she did find listed providers


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who were in-network with the insurance, she was told that these providers were not accepting

new patients, while other providers had waitlists of six months or more before they would accept

her child as a new patient.

        92.   After hours, days, and months of calling listed “in-network” providers, Plaintiff

Jane Doe was unable to find care for Baby Doe. For Baby Doe, there were no in-network

providers with the training or experience necessary to provide adequate care within a reasonable

distance of her home.

        93.   Jane Doe was unable to financially afford out-of-network care. She had to forgo

care for Baby Doe.

        94.   Since 2018 and continuing through the present, she has regularly returned to the

provider directory and called listed providers to no avail. It is both frustrating and discouraging

every time Jane Doe turns to the provider directory and is unable to find care for Baby Doe.

        95.   In late 2023, Jane Doe was able to secure a waitlist spot for one provider. The

provider’s waitlist was six months long. Jane Doe has not yet heard from the practice that it has

an available appointment and accepts the insurance.

        96.   In short, Ms. Doe could not find an in-network doctor to treat her child at the time

the child needed care. Baby Doe never received mental health care because her mother could not

find an appropriate in-network doctor.

II.     Anthem’s Health Insurance Plans

        A.      Plan Options

        97.   Anthem is one of the largest health insurance providers in New York State. It is

owned by Elevance Health, one of the largest health insurance companies in the United States.

Anthem serves over a million individuals in New York State and offers multiple health insurance

plans in the State.


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       98.   Federal employees eligible for the FEHP benefits have a choice of approximately

37 different insurance plans offered by 14 different insurance companies.62

       99.   Anthem is one of the authorized health insurance companies offering plans to

federal employees under the FEHP. It serves more than 150,000 federal employees and their

eligible family members in New York State.

       100. Anthem offers three plans to federal employees in New York State: FEP Blue

Focus, Basic Option, and Standard Option.

       101. None of the three options is covered by ERISA.

       102. Each of the three plans has different deductibles, co-pays, co-insurance, and

premiums, discussed below, but all three options purport to include robust in-network provider

networks for mental health.

       103. The federal government pays approximately 72% of the monthly premium for the

various plans that federal employees are eligible to enroll in under FEHP. The other 28% is paid

by the individual employee. The individual and family contributions for the three Anthem plans

in 2024 are represented below:

                                   Monthly Premium, 2024
                                  FEP Blue                               Standard
                                                   Basic Option
                                    Focus                                Option
               Self Only           $119.83             $207.44           $326.71
               Self + One          $257.58             $517.03           $729.82
             Self + Family         $283.32             $568.96           $803.14




62
   Office of Personnel Management, 2024 Plan Information for New York (2024)
https://www.opm.gov/healthcare-insurance/healthcare/plan-information/plans/2024/state/ny.


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       104. The Anthem plans are preferred provider organization (“PPO”) plans. That means

they have a “network” of physicians, specialists, hospitals, laboratories, and other facilities.

Anthem contracts with these providers and sets negotiated rates. In turn, these providers qualify

as “in-network” providers, accept lower payments from the insurer, and agree to charge members

an agreed-upon discounted amount.

       105. Members of Anthem who see an in-network mental health provider on an

outpatient basis pay the doctor an agreed-upon amount depending on the plan in which they are

enrolled:

                  Payment by Patient to In-Network Mental Health Provider
                 FEP Blue Focus             Basic Option          Standard Option
               $10 per visit for first
                                             $35 co-pay              $30 co-pay
                      10 visits



       106. Each plan has slightly different deductibles.

       107. Members who see providers not within Anthem’s network – “out-of-network”

providers – will be subjected to a variety of additional costs: some known, some unknown.

       108. Most importantly, only members who have Anthem’s most expensive plan – the

Standard Option plan – can see an out-of-network provider and be covered by the plan in any

way. That means that if a member who has the FEP Blue Focus plan or the Basic Option plan

sees an out-of-network provider, that member will have to pay 100% of what the doctor charges.

       109. If the member has the Standard Option plan, the member will pay something less

than the doctor’s full charge. That is because the member gets reimbursed a small percentage of

the doctor’s fee. The Defendant’s out-of-network reimbursement rate is pegged to a cost it refers

to as its “allowance.” That allowance amount is always considerably less than what the doctor




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charges. Moreover, the member does not get reimbursed the full allowed amount, but only 65%

of the allowance – and that is after a $350 individual (or $750 family) deductible is met. In its

plan brochure, the Defendant gives an example of how much a member might pay:

             Under Standard Option, your share consists only of your deductible
             and coinsurance or copayment. Here is an example about coinsurance:
             You see a Preferred physician who charges $250, but our allowance is
             $100. If you have met your deductible, you are only responsible for your
             coinsurance. That is, under Standard Option, you pay just 15% of our
             $100 allowance ($15). Because of the agreement, your Preferred
             physician will not bill you for the $150 difference between our
             allowance and the bill. 63

         110. Anthem’s “allowance” is not discernable from its website. Thus, it is (at best) very

difficult for a member to know, in advance, how much it will cost to use an out-of-network

provider.

         111. And for a prospective member, it is essentially impossible to know – in advance –

how much that payment will be: the Defendant will not tell a prospective member what its

allowance for a procedure or treatment is without a member ID number.

         112. FairHealth is an unrelated, highly respected, non-profit resource that provides

consumers with extensive, accurate information about the cost of health care procedures.

FairHealth is not a definitive price guide, but it does provide some guidance about how much a

member might pay. According to FairHealth, CPT Code G0470, a mental health visit for an

established patient at a Federally Qualified Health Center near zip code 10704 (the Plaintiff’s zip

code) would cost $418 for an out-of-network provider.64 And $138 is the in-network (allowed)

price.


63
  Brochure, supra note 60 at 29 (this exact language also appeared in the brochures in prior
years).
64
     FairHealth Consumer, Consumers Estimate Your Healthcare Expenses,
                                                                                        (continued…)


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         113. A member would have to lay out $418 for each visit to a mental health provider.

Only members with the Standard Option Plan would receive any reimbursement when using an

out-of-network provider. (Basic Option and FEP Blue Focus members receive no

reimbursement.) Defendant would reimburse Standard Option members approximately $90 per

visit.

         114. Once the member’s deductible is satisfied, the Standard Option member’s out-of-

pocket cost per visit would be approximately $328.

         115. The member’s cost for an in-network provider would be $30 (if on the Standard

Option Plan) or $35 (if on the Basic Option Plan) – if she could find an in-network provider

accepting new patients.

         116. Thus, the net cost (per visit) to the member for using an out-of-network provider

would be:

                             FEP Blue Focus             Basic Option         Standard Option
     Out-of-Pocket
                                   $418                    $418                    $328
   Payment Per Visit



         B.     Defendant’s Contract with the Office of Personnel Management

         117. All of the FEHB plans offered by Anthem are governed by a contract between

Anthem and the U.S. Office of Personnel Management.

         118. Pursuant to U.S. Office of Personnel Management contracting requirements, the

contract requires Anthem to comply with the No Surprises Act and other federal laws, including

sections 2799A–1, 2799A–2, 2799A–3, 2799A-4, 2799A-5, 2799A–7, and 2799A–8 of the




https://www.fairhealthconsumer.org/.


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Public Health Service Act, sections 716, 717, 718, 719, 720, 722, and 723 of the Employee

Retirement Income Security Act of 1974, and sections 9816, 9817, 9818, 9819, 9820, 9822, and

9823 of the Internal Revenue Code of 1986.

       119. Section 2799A-5 of the Public Health Service Act requires health insurers to verify

and update their provider directory not less frequently than once every 90 days, remove a

provider from the directory when it is unable to verify the directory information for that provider,

and update the directory within two days of receiving new information from a provider.

       120. Section 720 of the Employee Retirement Income Security Act of 1974 requires

health insurers to verify and update their provider directory not less frequently than once every

90 days, remove a provider from the directory when it is unable to verify the directory

information for that provider, and update the directory within two days of receiving new

information from a provider.

       121. Section 9820 of the Internal Revenue Code of 1986 requires health insurers to

verify and update their provider directory not less frequently than once every 90 days, remove a

provider from the directory when it is unable to verify the directory information for that provider,

and update the directory within two days of receiving new information from a provider.

III.   Defendant’s Ghost Network

       A.      Anthem’s Provider Directory

       122. Anthem affirmatively tells members: “Choosing the right health plan matters. You

want to make sure you have the coverage you need.” Anthem further states that members “enjoy




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… a network that includes over 1.7 million doctors.”65 Anthem also states, “Blue Cross Blue

Shield has more doctors and hospitals in our network than any other insurer in the U.S.”66

          123. At all relevant times, the Defendant published an online directory of doctors who

supposedly are in-network with the Defendant. This directory is publicly available to members

and non-members of Anthem’s insurance plans.

          124. This online directory, for members and potential members, is the definitive

resource for people to identify which providers are in Anthem’s network and are thereby covered

as an in-network provider.67

          125. This directory can be sorted and searched based on the criteria relevant to

members: for example, the type of medical specialty, the distance from the member’s home or

office, and whether the provider does telehealth or provides in-person care.

          126. The Defendant’s directory of mental health providers is a ghost network to a

staggering extent. Mental health providers listed on the Defendant’s directory have incorrect

contact information, or include repeated entries of the same provider, making it appear that

Anthem contracts with vastly more mental health providers than it does. Accordingly, the

Defendant’s provider directory, and representations about Anthem’s comprehensive mental

health coverage, are inaccurate, deceptive, and misleading.

          127. The Defendant’s provider directory affirmatively misrepresents to current and

prospective Anthem members that the mental health providers listed are in fact in-network and

will be accessible and available for mental health services. Indeed, as described above, the


65
     Benefit Summary Book, supra note 59 at 1.
66
     Id. at 10.
67
     See Find a Doctor, supra note 61.


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Defendant’s provider directory is replete with providers who do not take Anthem and is

egregiously inaccurate as to its network of mental health providers.

       128. The Defendant includes many incorrect or non-working telephone numbers in its

directory. The Defendant’s inclusion of multiple incorrect telephone numbers may, at first

glance, appear to be no big deal. But such errors are far from trivial for a person needing mental

health care for themselves or a loved one. The appearance of a phone number next to a

provider’s name conveys the promise that this provider is not only in-network, but available to

the member – to make an appointment and get help. And the absence of a phone number would

convey a very different message: that this provider should not be listed. The inclusion of

incorrect telephone numbers artificially inflates the perceived size and adequacy of the

Defendant’s network. And the inclusion of those incorrect numbers has a detrimental impact on

members who invest time and energy trying to find a mental health provider – only to be

repeatedly led down a blind path.

       129. Anthem’s directory can also be downloaded as a customized PDF. On the cover

sheet of the customized search directory, Anthem states, “This directory is based upon

information available at the time of creation. Providers may change their participation status at

any time. For the most up-to-date information on provider availability, please access

http://FEPBLUE.org.”

       130. On the search results page, there is a link: “Click here for general Federal

Employee Program provider directory disclaimers[,]” which leads to the following pop-up

window:




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       131. The Defendant’s disclaimer statement (above) fails to satisfy the Defendant’s

obligations to lawfully maintain the provider directory and to refrain from deceptive acts and

practices regarding the same.

       B.      Plaintiffs’ “Secret Shopper” Study

       132. In March 2024, counsel for the Plaintiffs conducted a simulated patient “secret

shopper” survey very similar in design to those conducted by the New York Office of the

Attorney General and Senate Finance Committee.

       133. Plaintiffs’ secret shopper survey was based upon http://FEPBLUE.org.

       134. Plaintiffs’ downloaded (and customized) directory was created on March 25, 2024.

The bottom of the cover page of that downloaded PDF states, “Data last updated 03/24/2024.”

Anthem’s “Find a Doctor” online tool has a subheading that states, “You can search our

nationwide directories of Preferred providers – those providers who are in our network.”

       135. The “Find a Doctor” tool then asks the member (or prospective member) to choose

a location and a specialty. When “Yonkers, New York,” “psychiatry,” and “10 miles” were put



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into the tool, there were 759 results generated. After each doctor’s name, it said, “In-network.

Accepting new patients at this location.”




       136. These results were fundamentally wrong and misleading.

       137. When searching the online provider directory, Anthem offers the option to

“download” the search results at the bottom of the page. Instead of downloading the exact

results, which is suggested by the pop-up limiting the number of downloadable results to 200, the

downloadable results are completely different. When Counsel downloaded an Anthem directory

of psychiatrists within 10 miles of Yonkers, some 4,300 names were generated. But many of

those names appeared dozens of times – understandably with different addresses and telephone

numbers. But Plaintiffs experienced that several doctors listed multiple times were not in

network. Providing a member who is in need of mental health services with a directory that is so

inaccurate is little more than an invitation for the member to dive into Alice’s rabbit hole.




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        138. Counsel’s staff attempted to contact the first 100 provider listings from a search of

Anthem Blue Cross Blue Shield’s online provider directory within 10 miles of Yonkers, New

York.

        139. Plaintiff Cavallaro-Kearins is a resident of Yonkers, and this study was an attempt

to replicate a similar experience to when she tried to use the Anthem directory.

        140. Using the default sort and phone numbers listed on the provider directory, staff

called the first 100 listings trying to secure a mental health appointment (in-person or

telemedicine).

        141. In total, staff were able to speak with someone for 92 of the listings. Eight listings

were completely unreachable due to non-working numbers or unreturned calls.

        142. Counsel’s staff could only make an in-network appointment with seven of the

providers. The rest of the listings were either not in network, not mental health providers, did not

accept new patients, were not reachable, or could not get an appointment in less than six months.

        143. But even among the seven providers where an appointment could be made,

members like the Plaintiff would encounter significant obstacles to getting care. Only two of the

seven providers could see a patient for both medication and therapy services in a timely manner.

One provider could only provide therapy services and one only offered medication management,

and three providers said they had available appointments, but they were a month away from the

date of the call.

        144. In a vast majority of the attempted calls, the provider was either unreachable, the

listed number was incorrect, the provider was not accepting new patients, not in-network,

inpatient only, or the provider had another specialty.




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        145. Twenty-eight of the phone numbers listed were wrong numbers, out of service, or

the person listed in the Anthem directory did not work there. Another 27 of the listings were not

in-network with Anthem, did not accept Anthem, or were not accepting new patients. Another

five of the doctors listed in the Anthem directory were not psychiatrists, psychologists, or

therapists.

        146. An additional 23 listings were in-patient only.

        147. In short, current members of the Anthem plan would encounter severe obstacles in

securing in-network care, just as Plaintiffs did.

        148. As a result, and as corroborated by named Plaintiffs’ experiences, it is nearly

impossible to find an available in-network mental health provider on the Defendant’s provider

directory.

        149. In summary, the Defendant’s provider directory includes scores of providers who

are not in-network with Anthem or do not accept Anthem insurance. Moreover, the Defendant’s

provider directory is replete with inaccuracies of all kinds, including but not limited to incorrect

addresses, phone numbers, and other contact information. Finally, when a member prints out (or

saves as a PDF) a directory, the search results generated for a mental health provider include

multiple entries for the same provider, making it appear that Anthem has vastly more mental

health providers than it does – and potentially sending a member on an even more frustrating

search for an in-network provider.

        C.     Anthem’s Marketing Materials and Plan Summaries

        150. In addition to publishing and maintaining an inaccurate provider directory, Anthem

provides consumers with deceptive and materially misleading marketing and program materials

about the Anthem plans. These materials promise mental health benefits and a robust network of

in-network providers.


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       151. During every year’s open enrollment period, federal employees select their desired

health plan. Last year’s open enrollment period was from Monday, November 13 through

Monday, December 11, 2023, with the plan year beginning on January 1, 2024. Once an

employee selects a health plan, the employee must remain with that plan for the entire plan year

(unless there is a “qualifying event” like getting married or losing a job) until the following

year’s open enrollment period.

       152. There are several materials that summarize, and market, the Anthem plan to federal

employees during open enrollment, and at all other times during the plan year. These documents,

including Anthem’s “Benefits at a Glance,” the “Benefit Summary Book,” the “Service Benefit

Plan,” and the “Find a Doctor” online resource, are made directly available to both current and

prospective members or are otherwise available on the Anthem website. Separately and

collectively, these documents deceptively describe an insurance plan that provides

comprehensive mental health care coverage, and that members and potential members rely upon

and assume to be accurate.

       153. The “Benefits at a Glance” includes mental health visits.

       154. The “Benefit Summary Book” also spells out a benefit of “mental health visits.”

The “Service Benefit Plan” (brochure) devotes approximately three pages to mental health

benefits.

       155. In addition, the benefits conveyed to Plaintiffs are found in the document known as

the Brochure that is available at www.fepblue.org. The Brochure states: “Every year, we

conduct an analysis of the financial requirements and treatment limitations which apply to this

Plan’s mental health and substance use disorder benefits in compliance with the federal Mental

Health Parity and Addiction Equity Act (the Act), and the Act’s implementing regulations. Based




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on the results of this analysis, we may suggest changes to program benefits to OPM.”68 The

Mental Health Parity and Addiction Equity Act states, “The regulation provides that all plan

standards that limit the scope or duration of benefits for services are subject to the

nonquantitative treatment limitation parity requirements. This includes restrictions such as

geographic limits, facility-type limits, and network adequacy.” 69

          156. In reality, it is nearly impossible to obtain in-network mental health care, and

consumers who relied on Anthem’s misrepresentations are left to suffer the consequences of

untreated mental illness, incur significant costs to afford out-of-network treatment, and pay

premiums for benefits that are illusory.

          157. In conclusion, separately and together, Anthem’s representations mislead

consumers to believe that their mental health needs would be taken care of, that their in-network

coverage is comprehensive, and that they only need to look to and rely on the provider network

to find necessary mental health care.

          158. Moreover, Anthem’s repeated focus on the importance of using an in-network

provider, and repeated direction of members to use the provider directory to find an in-network

provider, belies the materiality of the provider directory to consumers.

          159. Finally, Defendant’s attempts to have members themselves verify that a provider is

in fact in-network does not replace, or otherwise absolve, Defendant’s obligations to accurately

represent the mental health providers in its network.




68
     Brochure, supra note 60 at 100.
69
  Ctrs. for Medicare & Medicaid Services, The Mental Health Parity and Addiction Equity Act
(2023), https://www.cms.gov/marketplace/private-health-insurance/mental-health-parity-
addiction-equity.


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       D.      Defendant’s Omissions

       160. In addition to the affirmative misrepresentations made by the Defendant about the

breadth of its provider network and comprehensiveness of Anthem’s mental health care

coverage, the Defendant also makes material omissions, including but not limited to failing to

disclose the extent of provider directory inaccuracies; that the vast majority of in-network mental

health providers are not accessible; and the limitations of Anthem’s mental health coverage.

       161. Specifically, the Defendant – on the provider directory and in Anthem’s marketing

and plan materials – misleadingly omits any mention that members will likely face significant

difficulty in finding an in-network mental health provider through the directory, or the likelihood

that members will need to either resort to an out-of-network provider or delay or potentially

forego care altogether.

       162. Significantly, there is also complete information asymmetry between the Defendant

and consumers: the Defendant has every ability to access all the relevant information to

determine whether a provider is accurately listed.70 On the other hand, only after great difficulty

and time expenditure – through trial and error, hours of calls, and extensive research – could a

member become aware of the extent of the directory inaccuracies. The information is simply not

readily available to the average consumer.

       163. Plaintiffs and other reasonable consumers must rely on the Defendant to accurately

represent which providers are in-network for its insurance plan. The Defendant is well-aware of

its directory inaccuracies, yet reasonable consumers would have no reason to think that the list of

providers represented as being in their insurance plan’s network would not be exactly that.


70
   This information includes their contracts and communications with providers, as well as
billing information from which Defendant could easily ascertain the providers currently in their
network.


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       164. If Plaintiffs – or any reasonable consumer – had the directory inaccuracies and

deficits of Anthem’s mental health care coverage disclosed to them, they would have acted

differently in a variety of ways, including, but not limited to, avoiding hours of fruitless searches

and calls, saving and budgeting to prepare for out-of-network mental health care costs, and

exploring other health plan options.

IV.    Defendant’s Misrepresentations and Omissions about Its Mental Health Care
       Coverage Are Deceptive

       165. The staggering inaccuracies in the Defendant’s provider directory, and in Anthem’s

marketing and plan materials, constitute unlawful deceptive acts and practices, false advertising,

and violations of statutory and regulatory requirements. Moreover, these violations are knowing,

willful, and serve to unjustly enrich Defendant.

       166. The misconduct alleged in this complaint is simple but enormously harmful: the

Defendant deceptively and misleadingly represents that the Anthem insurance plan has a broad

network of available mental health providers, when the reality is that members often cannot

obtain in-network mental health treatment.

       167. The Defendant holds itself out to consumers – through the provider directory,

advertising and marketing materials, and plan materials – as adequately covering mental health

care. These representations are deceptive, as Anthem does not provide an adequate or a

comprehensive network of mental health providers.

       168. As discussed above, the Defendant affirmatively misrepresents the breadth of its

mental health provider network to a staggering extent – with at least 85% of the providers listed

on the provider directory not actually participating in Anthem’s insurance network. Further, an

overwhelming number of providers listed are improperly and repeatedly listed or have incorrect

contact information.



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          169. In addition, during its enrollment periods and otherwise, Anthem makes numerous

material misrepresentations to current and potential members about the Anthem plan, including,

but not limited to, the size and adequacy of the mental health provider network, that all providers

on the directory would be covered at an in-network rate, the ease and availability of finding

in-network care, and the comprehensiveness of mental health care coverage. It is also very

difficult for members or prospective members to ascertain the “allowance” that Anthem uses to

determine out-of-network reimbursement.

          170. The Defendant disseminates these uniform, deceptive misrepresentations and

omissions on its provider directory and through Anthem’s advertising, marketing, and program

materials, such as Anthem’s “Benefits at a Glance,”71 the “Benefit Summary Book,”72 the

“Service Benefit Plan”73 (also known as the “brochure” and “official statement of benefits”), and

the “Find a Doctor” online resource.74

          171. At no time did the Defendant disclose the limited nature of the mental health

provider network, the amount of time individuals could be expected to search for an available in-

network mental health provider, or the expenditures that would likely be required to obtain

mental health care.

          172. Put another way, if a member was looking to obtain mental health services from a

provider on the Defendant’s provider directory, the member would have no reason to believe that




71
     Benefits at a Glance, supra note 58.
72
     Benefits Summary Book, supra note 59.
73
     Brochure, supra note 60.
74
     Find a Doctor, supra note 61.


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said provider would be out-of-network, nor that the member would have to pay substantial costs

to see an out-of-network provider.

       173. Through the Defendant’s representations, omissions, and bait-and-switch tactics, a

reasonable consumer would understandably believe that the Anthem plan included the mental

health providers that the provider directory stated it would, and that Anthem’s network of mental

health providers was broad and accessible. A reasonable consumer would also expect that

Anthem would cover charges for services at an in-network rate for the providers it affirmatively

lists as in-network on its directory, and that the consumer would not be subject to out-of-network

costs for obtaining mental health care from a provider listed on the directory.

       174. The Defendant represents that it regularly monitors and updates its network for

accuracy. But that is not true.

       175. Indeed, the Defendant is flagrantly violating federal law, including the No

Surprises Act.

       176. Moreover, the Defendant is well-aware of its legal obligations, and the Defendant’s

inaccurate and misleading provider directory is not only a violation of these standards, but also a

willful and knowing violation of the consumer protection laws.

       177. The Defendant willfully and knowingly maintains an inaccurate and inflated

provider directory to hide its non-compliance with network adequacy standards. If the Defendant

were forced to produce an accurate provider directory, it would reflect that Anthem does not

maintain sufficient in-network mental health providers, in violation of network adequacy laws.

       A.        Defendant’s Deceptive Representations and Omissions Are Material

       178. As countless studies have shown, provider directories and the breadth of a provider

network are important to consumers’ choice of health care plan and decisions about their health

care. By inference, misrepresentations about a provider directory and network materially impact


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consumers’ health plan choices. Accordingly, the Defendant’s misrepresentations about the

Anthem plan’s mental health provider network and coverage are materially misleading to

consumers, in violation of consumer protection law.

           179. Consumers predominantly, and logically, rely on a health plan’s provider directory

in order to find providers in their health plan.75 As stated by the American Medical Association

and the Council for Affordable Quality Healthcare:

                 Health plans are expected by their members and their contracted
                 practices to display a provider directory to the public that represents an
                 accurate reflection of their networks. It is the most public-facing data
                 that health plans provide, and patients are dependent on accurate
                 directories to access care….76

           180. Indeed, and as noted above, Anthem itself repeatedly directs its members to rely on

the provider directory to find an in-network provider.

           181. In addition, reasonable consumers look to the breadth of a provider network in

choosing a health plan.77 Over half of consumers in one poll identified provider choice as the

most important non-financial consideration they make when selecting a health plan.78 In another



75
   Improving Health Plan Provider Directories, CAQH & Am. Med. Ass’n., 3,
https://www.caqh.org/sites/default/files/other/CAQH-
AMA_Improving%20Health%20Plan%20Provider%20Directories%20Whitepaper.pdf (“Among
the more common resources that patients use are health plan provider directories which,
according to two surveys conducted in 2020, more than half of patients use to select a
physician.”) (citations omitted).
76
     Id. at 7.
77
  See Statista, Most Important Considerations for Americans in Choosing a Plan from a Health
Insurance Company as of 2016, https://www.statista.com/statistics/654828/most-important-
considerations-for-choosing-health-insurance-plan/.
78
   See Linda J. Blumberg et al., Factors Influencing Health Plan Choice among the Marketplace
Target Population on the Eve of the Health Reform, Urban Inst. (Feb. 6, 2014),
https://www.urban.org/research/publication/factors-influencing-health-plan-choice-among-
marketplace-target-population-eve-health-reform.


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survey, participants “were willing to pay $72 more for a plan that covered 30% more doctors in

their area.”79 And, in a Kaiser Family Foundation survey, 60 percent of non-group health

insurance enrollees reported that having a choice of providers was either “very important” or

“extremely important” to them.80 Anthem is aware of such consumer preferences.

       182. Given the materiality of provider directories and network breadth to consumer

choice, the misrepresentations and omissions made by the Defendant constitute precisely the

type of information upon which reasonable consumers would rely on in choosing a health plan.

Having access to an adequate number of in-network, qualified doctors is one of the fundamental

criteria consumers use in choosing a health insurance plan.81

       183. Moreover, and as discussed above, reasonable consumers would understandably

rely on these misrepresentations and omissions made by the Defendant. The provider directory

and network information are disseminated by the insurance company, which consumers logically

view as the authoritative source of information about its in-network providers, scope of

coverage, and other plan policies.

       184. Any disclaimers, such as “the continued participation of any physician, hospital, or

other provider cannot be guaranteed,” are woefully insufficient.


79
   Eline M. van den Broek-Altenburg & Adam J. Atherly, Patient Preferences for Provider
Choice: A Discrete Choice Experiment, Am. J. of Managed Care 26(7) (July 2020),
https://www.ajmc.com/view/patient-preferences-for-provider-choice-a-discrete-choice-
experiment.
80
  Liz Hamel et al., Survey of Non-Group Health Insurance Enrollees, Wave 2, Kaiser Family
Foundation (2015), https://www.kff.org/health-reform/poll-finding/survey-of-non-group-health-
insurance-enrollees-wave-2/ (note that 60 percent is the combined statistic of those who reported
choice of providers as “extremely important” (25 percent) or “very important” (38 percent)).
81
  See id.; Most Important Considerations for Americans in Choosing a Plan from a Health
Insurance Company as of 2016, supra note 77; Blumberg et al., supra note 78; van den Broek-
Altenburg, supra note 79.


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        185. The Defendant’s attempt to have members themselves verify that a provider listed

on its directory of in-network providers is in fact in-network is cynical, inappropriate, and

dangerous. The Defendant cannot shift its obligations to consumers in an effort to evade its legal

duties. It is not consumers’ responsibility to verify if they are being misled; instead, it is the

Defendant’s obligation not to mislead.

        186. The sheer extent of inaccuracy and inadequacy of the Defendant’s network is

hidden, dangerous and deceptive. Put another way, no reasonable consumer viewing these

disclaimers would understand that up to 85% of mental health providers listed on the directory

do not take Anthem insurance. Indeed, there is no disclaimer broad enough to absolve that level

of deception.

        B.      Defendant Was Aware of Its Provider Directory Inaccuracy and Knew That
                Its Representations and Omissions Regarding the Provider Directory and
                Mental Health Care Coverage Were Deceptive

        187. At all relevant times, the Defendant knew that its representations and omissions

regarding its directory of mental health providers and coverage of mental health care were

grossly inaccurate, deceptive, and misleading.

        188. Amongst the insurance industry itself (as opposed to consumers), it is well known

that provider directories are notoriously inaccurate. There are numerous studies documenting the




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prevalence of ghost networks,82 especially for mental health providers,83 and insurance

companies – including Anthem – have been successfully sued over the issue.84

         189. As discussed above, the industry was recently the subject of a bipartisan

congressional inquiry into ghost networks,85 and the Senate Finance Committee held a hearing

on the issue specifically in the context of mental health.86 There are also numerous federal and

state laws and regulations aimed at rectifying the problem of inaccurate provider directories,

which are discussed further below, and of which the Defendant is well aware.


82
  See, e.g., Butala et al., supra note 28 (“In examining directory entries for more than 40% of
US physicians, inconsistencies were found in 81% of entries across 5 large national health
insurers.”); Jack S. Resneck Jr. et al., The Accuracy of Dermatology Network Physician
Directories Posted by Medicare Advantage Health Plans in an Era of Narrow Networks, JAMA
Dermatology 150(12) (2014), https://jamanetwork.com/journals/jamadermatology/fullarticle/
1919439 (finding, after making scripted telephone calls to dermatologists listed in certain
directories, that 45.5% of physician listings were duplicates, and many “dermatologists listed had
incorrect contact information, were deceased, retired, or had moved, were not accepting new
patients, did not accept the insurance plan, or were subspecialized;” for one plan, no appointment
was obtainable).
83
  See, e.g., Russell Holstein & David P. Paul III, ‘Phantom Networks’ of Managed Behavioral
Health Providers: an Empirical Study of their Existence and Effect on Patients in Two New
Jersey Counties, Hospital Topics 90(3), 68 (2012), https://pubmed.ncbi.nlm.nih.gov/22989224/
(“Aetna’s network of psychologists was the most accurate of all networks, and GHI’s network of
psychiatrists was the most inaccurate of all networks.”); Jane M. Zhu et al., Phantom Networks:
Discrepancies Between Reported And Realized Mental Health Care Access in Oregon Medicaid,
Health Affairs 41(7) (2022), https://www.healthaffairs.org/doi/10.1377/hlthaff.2022.00052
(“Overall, 58.2 percent of network directory listings were “phantom” providers who did not see
Medicaid patients, including 67.4 percent of mental health prescribers, 59.0 percent of mental
health nonprescribers, and 54.0 percent of primary care providers.”).
84
  See, e.g., Anthem Resolves Calif. Provider Directory Error Case, Bloomberg Law (Aug. 17,
2016), https://news.bloomberglaw.com/health-law-and-business/anthem-resolves-calif-provider-
directory-error-case.
85
   See Press Release, Brown, Colleagues, Seek Information on Ghost Networks, Sherrod Brown
U.S. Senator for Ohio (Jan. 30, 2023),
https://www.brown.senate.gov/newsroom/press/release/sherrod-brown-colleagues-seek-
information-on-ghost-networks.
86
     See Senate Hearings on Mental Health Care, supra note 35.


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         190. Put simply by a state senator, “[Insurance companies] have known about this for a

long time and they haven’t done anything about it. It’s difficult not to assume that this kind of

barrier is intentional.”87

         191. The sheer magnitude of providers who are not in-network or do not accept an

Anthem plan – at least 85% of the mental health providers listed – in and of itself reflects

knowledge of the directory inaccuracies. The staggering extent of inaccuracy of the mental

health providers represented as being in-network can only be the product of knowing misconduct

or willful blindness.

         192. The federal government regularly surveys employees about their use and

satisfaction of various benefits, including the Federal Employees Health Benefits (FEHB)

Program.

         193. In June 2022, the United States Office of Personnel Management published its

2021 Federal Employee Benefits Survey Report. This survey was administered to more than

50,000 permanent employees across the federal government.88

         194. The objective and findings were absolutely relevant to this lawsuit:

             To gauge the overall need for mental/behavioral healthcare in the
             Federal workforce, participants were first asked whether there was a
             need for care for themselves or for a family member within the 12
             months prior to completing the survey. The results were consistent with
             2019 FEBS results- 28 percent of participants responded “yes”, 66
             percent responded “no”, and six percent responded “no, but there was a
             need for treatment.”




87
     Turban, supra note 57.
88
   U.S. Office of Personnel Mgmt., 2021 Federal Employee Benefits Survey Report,
https://www.opm.gov/policy-data-oversight/data-analysis-documentation/employee-
surveys/2021-federal-employee-benefits-survey-report.pdf.


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       195. Survey participants were equally clear about their difficulty accessing mental health

care. As the survey report explained:

           For the six percent of participants who indicated that treatment was
           necessary but that it had not been obtained, a follow up question was
           asked to better understand what barriers Federal employees may be
           encountering when attempting to seek care.


              Barriers Encountered When Attempting to Seek Mental or Behavioral Health
                                               Treatment
                         Reason for Not Seeking Care                   Percent Selected
         Difficulty finding an in-network provider                            33%
         Difficulty finding providers accepting new patients                  30%
         Could not afford treatment costs                                     23%
         Difficulty finding in-person appointments                            18%
         Difficulty finding virtual appointments                              12%


       196. The Defendant knew, or should have known, that members were having significant

problems accessing in-network care, and that 6% of federal employees surveyed reported that

they had abandoned their search for mental health care.

       197. For all of these reasons, the Defendant’s misrepresentations and omissions

constitute knowing and willful violations.

       198. The Defendant engaged in these knowing deceptive acts and practices to induce

Plaintiffs, and all potential members and consumers, to choose the Anthem plan. These

representations about the size and breadth of the mental health provider network, the ease of

finding mental health treatment by using the allegedly accurate provider directory, the freedom

to choose any listed in-network provider, the ability to control costs by seeing an in-network

provider, and the comprehensive coverage of mental health care would induce a reasonable

consumer to choose the Anthem plan.




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       C.      Defendant Reaps Significant Benefits from Misrepresenting Its Mental
               Health Provider Network and Coverage

       199. Moreover, the Defendant knowingly and intentionally misleads consumers in order

to inflate the perception, extent, and robustness of its supposed mental health provider network,

which inures significant financial benefits to the Defendant, and conversely, deprives Anthem

members of the benefit of the bargain for the plan that they chose.

       200. Maintaining an inaccurate provider network and proving inadequate mental health

care coverage significantly boosts the Defendant’s profits.

       201. As discussed above, the top considerations for consumers choosing a health plan

are network breadth and provider choice. In addition to general representations made by insurers

about their networks, the main source upon which consumers rely to determine a network’s

breadth is the provider directory.89

       202. Consumers are more likely to enroll in a particular plan if their provider is

in-network and the provider list is robust. Thus, by misrepresenting the size and quality of its

network, the Defendant attracts more customers.

       203. When a provider network appears to be extensive, it attracts many potential

members and increases its share of the market; and indeed, Anthem’s plan maintains a

significant market share of FEHP-eligible consumers.

       204. These members’ premiums are then paid to Anthem. As such, Anthem is unjustly

enriched from its misrepresentations about the breadth of its network.


89
   See Improving Health Plan Provider Directories, CAQH & Am. Med. Ass’n., 3,
https://www.caqh.org/sites/default/files/other/CAQH-
AMA_Improving%20Health%20Plan%20Provider%20Directories%20Whitepaper.pdf (“Among
the more common resources that patients use are health plan provider directories which,
according to two surveys conducted in 2020, more than half of patients use to select a
physician.”) (citations omitted).


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       205. Anthem also overcharges for its premiums because of its illusorily broad network.

Every provider who is not actually in-network, or who is unavailable or unable to be contacted,

represents coverage that Anthem is paid for, but that members never receive.90

       206. In addition, members with greater mental health care needs are disproportionately

harmed by the lack of in-network providers. These higher-needs members are more likely to

have to pay for out-of-network treatment or abandon their efforts to obtain mental health care

altogether, thereby saving Anthem the costs associated with their care.

       207. Simply put, inaccurate directories serve to increase a plan’s membership (along

with their increased premiums) and, at the same time, evade the costs of covering their care.

       208. The financial incentives of intentionally inaccurate directories were discussed

during the recent Senate Finance Committee hearing.91 In an exchange between United States

Senator Elizabeth Warren and testifying witness Mary Giliberti (the Chief Public Policy Officer

of Mental Health America), Senator Warren inquired whether the plans were “inaccurate by

design,” to which Ms. Giliberti responded affirmatively:

           SENATOR WARREN: Okay so it’s a way to defraud consumers. To
           say I have this really big list of people you could go to if you had a
           problem, and it turns out that really big list … is actually this little tiny
           list.

           MS. GILIBERTI: Right.

           SENATOR WARREN: Okay so that’s one way it’s to their advantage
           … . They get paid in effect or they make more money by being
           inaccurate. Did you have another one?


90
   See Alicia Atwood & Anthony T. Lo Sasso, The Effect of Narrow Provider Networks on
Health Care Use, Journal of Health Economics (Dec. 2016),
https://doi.org/10.1016/j.jhealeco.2016.09.007.
91
  Note that this discussion focused on Medicare Advantage plans, but the incentives are the
same in commercial plans.


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           MS. GILIBERTI: Well just that I think it’s about 60 percent of the plans
           [being discussed] don’t have out of network coverage so if you get really
           frustrated and you pay on your own then they’re not paying anything.

           SENATOR WARREN: So the more I can frustrate you … the more
           you’ll just go somewhere else. And that means it’s not money out of
           their pockets.

                                             ***

           SENATOR WARREN: So what we are really saying here is that it is in
           the financial interests of these … plans to discourage beneficiaries from
           accessing care … . Because here’s the key that underlines this. Whatever
           insurers don’t spend on care as a result of tactics like outdated provider
           directories or overly restrictive networks or inaccurate information,
           whatever they don’t spend on care, they get to keep.92

       209. Finally, a significant collateral consequence of an inaccurate, inflated provider

directory is that an insurance plan appears to meet network adequacy requirements, even though

it does not. The Defendant is thereby unjustly enriched by avoiding the compliance costs and

other expenditures associated with maintaining an accurate and adequate network of mental

health providers, as required by federal and state law and discussed further below.

       210. As explained by a Yale Law & Policy Review article on ghost networks, the effects

of the Defendant’s ghost network are far-reaching and damage the very structure of our health

care system:

           Directory errors cost consumers money and erode regulatory consumer
           safeguards. They deceive consumers about the value of the coverage
           they are purchasing by concealing plans’ actual provider networks,
           subjecting consumers to predatory billing practices, and breaking the
           link between consumer choices and plan practices that undergirds much
           of the American health insurance regulatory structure.93



92
 Senate Hearings on Mental Health Care, supra note 35 (Testimony of Senator Elizabeth
Warren).
93
  Abigail Burman, Laying Ghost Networks to Rest: Combatting Deceptive Health Plan Provider
Directories, 40 Yale L. & Pol’y Rev. 78, 85 (2021).


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V.     Plaintiffs and Putative Class Members Have Been Injured Because of Defendant’s
       Conduct

       211. Simply put, the Defendant’s ghost network is a dangerous obstacle to critical

mental health care for the hundreds of thousands of people covered by Anthem’s plan. Plaintiffs

and others similarly situated – both adults and the parents of children in desperate need of mental

health care – have been grievously injured by these violations and their inability to access

necessary mental health treatment for their children.

       212. Mental health care networks have been known for some time for being particularly

inaccurate and causing significant harms.94 Yet insurance companies such as the Defendant have

done little to improve their accuracy.

       213. As noted in a 2014 New York Attorney General Assurance of Discontinuance,

“[p]ersons with mental health and substance use disorders comprise a vulnerable population, and

may be reluctant to seek care.”

       214. Plaintiffs have suffered enormous injury from the Defendant’s violations of law. As

a result of the Defendant’s ghost network, Plaintiffs have struggled, or been wholly unable, to

obtain mental health treatment for themselves or their children. Specifically, Plaintiffs have paid

exorbitant costs to get mental health treatment because they have been forced to seek out-of-

network care for themselves and for their children; have faced significant, years-long delays in

receiving critical mental health care; have been unable to find care appropriate for their mental




94
   See, e.g., Susan H. Busch & Kelly A. Kyanko, Incorrect Provider Directories Associated With
Out-Of-Network Mental Health Care And Outpatient Surprise Bills, 39(6) Health Affairs (2020),
https://www.healthaffairs.org/doi/10.1377/hlthaff.2019.01501 (“We conducted a national survey
of privately insured patients who received specialty mental health treatment. We found that
44 percent had used a mental health provider directory and that 53 percent of these patients had
encountered directory inaccuracies.”).


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health needs and have made-do with less-than-appropriate providers; and, alarmingly, have been

unable to obtain needed mental health treatment altogether.

        215. The provider directory’s inaccuracies and misrepresentations and omissions about

Anthem’s mental health care coverage are the direct causes of the harms Plaintiffs have endured.

Most simply, had the provider directory been accurate, Plaintiffs would have saved countless

hours of futile searching; avoided the time, costs, and emotional toll of delaying, or failing to

find, needed care; and avoided the exorbitant costs of obtaining out-of-network mental health

treatment. Had Anthem accurately represented its mental health care coverage, Plaintiffs would

have had access to the care they were promised or made other financial and health care decisions

about their mental health treatment.

                              CLASS ACTION ALLEGATIONS

        216. This action is brought by Plaintiffs individually and on behalf of a class (the

“Class”) pursuant to Federal Rule of Civil Procedure 23(a) and (b).

        217. Plaintiffs seek certification of the following Class:

            All persons who are currently, or were previously, enrolled in Anthem’s
            FEHP plans at any point in or after 2018 who attempted to utilize
            Anthem’s directory of mental health providers.

        218. Excluded from the Class are the Defendant’s officers, directors, employees, co-

conspirators, and legal representatives, and any judge, justice, or judicial officer to whom the

litigation is assigned.

        219. Plaintiffs reserve the right to amend or modify the class definition.

        220. Numerosity. The Class consists of many thousands of federal employees, retired

employees under 65, and their dependents that are or have been members of the Anthem FEHP

plans and is thus so numerous that joinder of all members is impracticable. The exact number




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and identity of class members is unknown to Plaintiffs at this time but can be ascertained through

appropriate discovery.

       221. Commonality and predominance. This action is appropriate as a class action

because common questions of law and fact affecting the Class predominate over those questions

affecting only individual members. Those common questions include, but are not limited to, the

following:

       a)    whether the Defendant breached its contractual obligations by failing to comply

       with the No Surprises Act and/or other federal statutes, regulations, and rules with which

       the Defendant is contractually obligated to comply;

       b)    whether the Defendant’s misrepresentations regarding the Anthem FEHP plans in

       violation of federal law were false or misleading under New York General Business Law

       (“GBL”) §§ 349 and/or 350, New York Insurance Law § 4226(a), and/or common law;

       c)    whether such violations were willful and knowing;

       d)    whether the Defendant’s mental health provider directory was inaccurate or

       inadequate;

       e)    whether the Defendant failed to disclose to members and prospective members that

       the provider directory was inaccurate or inadequate;

       f)    whether a reasonable consumer would be misled by the Defendant’s acts and

       practices;

       g)    whether Plaintiffs and Class members are entitled to receive specific types of relief

       such as actual damages, and the methodology for calculating those damages;




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       h)     whether Plaintiffs and Class members conferred a benefit on Anthem through

       enrollment in the Anthem plan, payment of premiums, and not utilizing in-network

       providers or otherwise not obtaining mental health care; and

       i)     whether equity and good conscience require restitution to Plaintiffs and Class

       members and/or the establishment of a constructive trust, and the amount of such

       restitution or constructive trust.

       222. Typicality. The claims asserted by Plaintiffs are typical of the claims of the Class.

At all relevant times, the Defendant’s provider directory was inadequate and inaccurate, and all

Class members’ claims arise out of this common violation of their shared statutory and common

law rights. Plaintiffs, like all Class members, were subject to deceptive and misleading

representations and omissions found in the Defendant’s provider directory and other marketing

and plan documents about the comprehensiveness of mental health coverage and the provider

network. Plaintiffs’ interests coincide with, and are not antagonistic to, those of the other Class

members, and Plaintiffs and the Class have been damaged by the same wrongdoing set forth in

this Complaint.

       223. Adequacy of representation. Plaintiffs will fairly and adequately protect the

interests of the Class and do not have any interests antagonistic to those of the Class members.

Plaintiffs have retained counsel competent and experienced in class actions and health insurance

and consumer protection litigation, who are competent to serve as Class counsel. Plaintiffs and

their counsel will fairly and adequately protect the interest of the Class members.

       224. Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy for at least the following reasons:




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        a)    given the complexity of issues involved in this action, the expense of litigating the

        claims, and the money at stake for any individual Class member, few, if any, Class

        members could afford to seek legal redress individually for the wrongs that the Defendant

        has committed against them;

        b)    the prosecution of thousands of separate actions by individual members would risk

        inconsistency in adjudication and outcomes that would establish incompatible standards

        of conduct for the Defendant and burden the courts;

        c)    when the Defendant’s liability has been adjudicated, claims of all Class members

        can be determined by the Court;

        d)    this action will cause an orderly and expeditious administration of the Class claims

        and foster economies of time, effort, and expense, and ensure uniformity of decisions;

        e)    without a class action, many Class members would continue to suffer injury while

        the Defendant retains the substantial proceeds of its wrongful conduct; and

        f)    this action does not present any undue difficulties that would impede its

        management by the Court as a class action.

        225. Ascertainability. The identities and addresses of Class members can be readily

ascertained from business records maintained by the Defendant, and/or self-authentication. The

precise number of Class members, and their addresses, can be ascertained from the Defendant’s

records. Plaintiffs anticipate providing appropriate notice to the Class to be approved by the

Court after class certification, or pursuant to court order.

        226. Plaintiffs request that the Court afford Class members with notice and the right to

opt out of any Class certified in this action.




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                                  FIRST CAUSE OF ACTION

                                       Breach of Contract

        227. Plaintiffs incorporate by reference all allegations in this Complaint and restate them

as if fully set forth herein.

        228. Plaintiffs and the Class, as federal employees eligible to participate in the Federal

Employee Health Benefits Program, are third-party beneficiaries of a contract between the

Federal Office of Personnel Management and the Defendant.

        229. The contract explicitly requires the Defendant to comply with the No Surprises Act,

among other federal laws, including sections 2799A–1, 2799A–2, 2799A–3, 2799A-4, 2799A-5,

2799A–7, and 2799A–8 of the Public Health Service Act, sections 716, 717, 718, 719, 720, 722,

and 723 of the Employee Retirement Income Security Act of 1974, and sections 9816, 9817,

9818, 9819, 9820, 9822, and 9823 of the Internal Revenue Code of 1986.

        230. Sections 2799A-5 of the Public Health Service Act, 720 of the Employee

Retirement Income Security Act of 1974, and 9820 of the Internal Revenue Code of 1986 require

health insurers to verify and update their provider directory not less frequently than once every

90 days, remove a provider from the directory when it is unable to verify the directory

information for that provider, and update the directory within two days of receiving new

information from a provider.

        231. Defendant’s failure to maintain an accurate directory of in-network providers, and

other misconduct set forth in this complaint, violates the requirements in the Public Health

Service Act, Employee Retirement Income Security Act, and Internal Revenue Code.

        232. The Defendant has violated the above federal laws (and, by extension, its

contractual obligations to Plaintiffs and the Class) by, among other things, failing to consistently

provide an accurate network directory and failing to ensure mental health network adequacy.


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        233. Plaintiffs and the Class have been harmed by the Defendant’s numerous contractual

breaches. Among other injuries, the Defendant’s contractual breaches have caused millions of

dollars in damages; forced Plaintiffs and Class members to delay and forego crucial and

necessary mental health care; caused Plaintiffs and Class members significant out-of-pocket

expenses for out-of-network provider payments; prevented Plaintiffs and Class members from

receiving the full benefit of their bargain; prevented Plaintiffs and Class members from enrolling

in a plan with better benefits (including lower costs); caused Plaintiffs and Class members to

reduce spending on necessities and other life costs; prevented Plaintiffs and Class members from

making informed financial and health care decisions; and caused Plaintiffs and Class members to

suffer severe emotional and psychological distress.

                                SECOND CAUSE OF ACTION

                      Deceptive Acts and Practices in Violation of the
             New York Deceptive Acts & Practices Act, N.Y. Gen. Bus. Law § 349

        234. Plaintiffs incorporate by reference all allegations in this Complaint and restate them

as if fully set forth herein.

        235. The Defendant violated GBL § 349 by failing to provide Plaintiffs and the Class

with the accurate information about in-network providers required by federal law, including, but

not limited to, the No Surprises Act, Public Health Service Act, Employee Retirement Income

Security Act, and Internal Revenue Code.

        236. GBL § 349 imposes liability on anyone who engages in “[d]eceptive acts or

practices in the conduct of any business, trade, or commerce or in the furnishing of any service”

in New York.

        237. Plaintiffs are “persons” under GBL § 349(h).




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       238. The Defendant’s actions as set forth herein occurred in the conduct of business,

trade, or commerce under GBL § 349(a).

       239. The Defendant has engaged in consumer-oriented conduct that has misled and

harmed Plaintiffs and the Class. The actions and practices alleged herein were directed at

consumers of health insurance and were therefore consumer-oriented.

       240. In the course of business, the Defendant made deceptive affirmative

misrepresentations and omissions to Plaintiffs and the Class by publishing and disseminating

misleading informational and marketing materials prior to and during the open enrollment

periods regarding Anthem—including Anthem’s “Benefits at a Glance,” the “Benefit Summary

Book,” the “Service Benefit Plan” (also known as the “brochure” and “official statement of

benefits”), and the “Find a Doctor” online resource. The provider directory itself, which

members and prospective members are directed to rely on, inflates and misleads consumers

regarding the size of the network and the availability of mental health providers.

       241. False representations include, inter alia, that providers listed on the provider

directory are in-network; that there are sufficient and available mental health care providers in

that network; that members can rely on the directory to find and contact providers; and that

mental health care coverage is comprehensive.

       242. Omitted and concealed from the representations were material and relevant facts

that Plaintiffs and Class members would have used in selecting their health insurance plan,

including, inter alia, the extent of inaccuracies in the provider directory; the true breadth of the

provider network; the likelihood that a member seeking mental health care would have to obtain

out-of-network treatment, and the costs of such services; and the number of hours and

expenditures that would be needed to be made to find appropriate mental health care.




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        243. These representations and omissions, when considered as a whole from the

perspective of a reasonable consumer, conveyed that the Defendant’s provider directory was

accurate and broad, and that mental health care would be covered. A reasonable consumer would

attach importance to such representations and would be induced to enroll in such a plan.

        244. These misrepresentations and omissions alleged herein were materially misleading.

        245. The acts and practices alleged herein are deceptive acts and practices covered under

GBL § 349 and have caused Plaintiffs and Class members significant ascertainable monetary and

non-monetary injuries. Among other injuries, the Defendant’s deceptive acts and practices have

caused millions of dollars in damages; forced Plaintiffs and Class members to delay and forego

crucial and necessary mental health care; caused Plaintiffs and Class members significant out-of-

pocket expenses for out-of-network provider payments; prevented Plaintiffs and Class members

from enrolling in a plan with better benefits (including lower costs); caused Plaintiffs and Class

members to reduce spending on necessities and other life costs; prevented Plaintiffs and Class

members from making informed financial and health care decisions; and caused Plaintiffs and

Class members to suffer severe emotional and psychological distress.

        246. The Defendant willfully and knowingly violated GBL § 349. It made affirmative

misrepresentations and omissions in its marketing materials and provider directory—in violation

of federal law—in order to market the Anthem plans as comprehensive, including mental health

coverage, in order to induce federal employees to choose its plans over other plans.

                                 THIRD CAUSE OF ACTION

                             False Advertising in Violation of the
                   New York False Advertising Act, N.Y. Gen. Bus. Law § 350

        247. Plaintiffs incorporate by reference all allegations in this Complaint and restate them

as if fully set forth herein.



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       248. The Defendant violated GBL § 350 by failing to provide Plaintiffs and the Class

with the accurate information about in-network providers required by federal law, including, but

not limited to, the No Surprises Act, Public Health Service Act, Employee Retirement Income

Security Act, and Internal Revenue Code.

       249. GBL § 350 imposes liability on anyone who uses false advertising in the conduct of

any business, trade, or commerce, or in the furnishing of any service in New York. “False

advertising” includes “advertising, including labeling of a commodity … if such advertising is

misleading in a material respect,” taking into account “the extent to which the advertising fails to

reveal facts material in light of … representations [made] with respect to the commodity ….”

GBL § 350-a(1).

       250. The Defendant’s actions as set forth herein occurred in the conduct of business,

trade, or commerce under GBL § 350.

       251. The Defendant has engaged in consumer-oriented conduct that has misled and

harmed Plaintiffs and the Class. The actions and practices alleged herein were directed at

consumers of health insurance and were therefore consumer-oriented.

       252. A cause of action based upon false advertising is appropriate because the Defendant

utilized false advertising to mislead Plaintiffs and the Class about the nature and coverage of

Anthem, in violation of federal law.

       253. In the course of business, the Defendant falsely advertised the Anthem plans to

Plaintiffs and the Class by publishing and disseminating misleading informational and marketing

materials prior to and during the open enrollment periods including Anthem’s “Benefits at a

Glance,” the “Benefit Summary Book,” the “Service Benefit Plan” (also known as the

“brochure” and “official statement of benefits”), and the “Find a Doctor” online resource. The




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provider directory itself, which members and prospective members are directed to rely on,

inflates and misleads consumers regarding the availability of mental health providers and the

adequate size of the network, in violation of federal law.

       254. False representations include that providers listed on the provider directory are in-

network; that there are sufficient and available mental health care providers in that network; that

members can rely on the directory to find and contact providers; and that the mental health care

coverage is comprehensive.

       255. Omitted and concealed from the representations were material and relevant facts

that Plaintiffs and Class members would have used in selecting their health insurance plan,

including the extent of inaccuracies in the provider directory; the true breadth of the provider

network; the likelihood that a member seeking mental health care have to obtain out-of-network

treatment, and the costs of such services; and the number of hours and expenditures that would

be needed to be made to find appropriate mental health care.

       256. These representations and omissions, when considered as a whole from the

perspective of a reasonable consumer, conveyed that the Defendant’s provider directory was

accurate and broad and that mental health care would be covered. A reasonable consumer would

attach importance to such representations and would be induced to enroll in such a plan.

       257. The false advertising alleged herein was materially misleading.

       258. The acts and practices alleged herein constitute false advertising covered under

GBL § 350 and have caused millions of dollars in damages; forced Plaintiffs and Class members

to delay and forego crucial and necessary mental health care; caused Plaintiffs and Class

members significant out-of-pocket expenses for out-of-network provider payments; prevented

Plaintiffs and Class members from enrolling in a plan with better benefits (including lower




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costs); caused Plaintiffs and Class members to reduce spending on necessities and other life

costs; prevented Plaintiffs and Class members from making informed financial and health care

decisions; and caused Plaintiffs and Class members to suffer severe emotional and psychological

distress.

        259. The Defendant willfully and knowingly violated GBL § 350. It made affirmative

misrepresentations and omissions in its marketing materials and provider directory—in violation

of federal law—in order to market the Anthem plans as comprehensive, including mental health

coverage, in order to induce federal employees to choose its plans over other plans.

                                 FOURTH CAUSE OF ACTION

                           Violation of New York Insurance Law § 4226

        260. Plaintiffs incorporate by reference all allegations in this Complaint and restate them

as if fully set forth herein.

        261. Insurance companies have a statutory obligation to provide accurate and complete

information about their health care plans. New York Insurance Law § 4226 states in pertinent

part: “No insurer authorized to do in this state the business of … health insurance … shall …

issue or circulate, or cause or permit to be issued or circulated on its behalf, any illustration,

circular, statement or memorandum misrepresenting the terms, benefits or advantages of any of

its policies or contracts.”

        262. The Defendant is liable under New York Insurance Law § 4226 because (1) it is

authorized to provide health insurance in New York; (2) it misrepresented to Plaintiffs and the

Class that they would have comprehensive access to in-network mental health care, including

that the mental health providers listed on the provider directory accepted the Anthem insurance

plans, that these providers would be accessible and available, and more; (3) the

misrepresentations were material; (4) the Defendant knew that it had misrepresented the terms,


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benefits, and advantages of the Anthem plans and has long been on notice of its provider

directory deficiencies; (5) the Defendant knew that the “Benefits at a Glance,” the “Benefit

Summary Book,” the “Service Benefit Plan” (also known as the “brochure” and “official

statement of benefits”), the “Find a Doctor” online resource, and other documents containing the

misrepresentations would be communicated to the Plaintiffs and the Class, directly and

indirectly; (6) Plaintiffs and the Class received such documents and learned of the

misrepresentations, directly and indirectly; (7) the Defendant did not abide by its representations;

and (8) Plaintiffs and the Class were thereby injured.

       263. The Defendant issued statements via the provider directory, the “Benefits at a

Glance,” the “Benefit Summary Book,” the “Service Benefit Plan” (also known as the

“brochure” and “official statement of benefits”), and the “Find a Doctor” online resource, and

other documents that materially misrepresented – through affirmative misstatements as well as

omissions – the comprehensiveness of the Anthem plans and mental health care coverage.

       264. These misrepresentations were material because network breadth and access to

in-network mental health providers are an important feature of a health insurance plan, one

which influences health care enrollment decisions.

       265. Plaintiffs and Class members have suffered economic and non-economic injuries

as a result of the Defendant’s misconduct. Among other injuries, the Defendant’s misconduct has

caused millions of dollars in damages; forced Plaintiffs and Class members to delay and forego

crucial and necessary mental health care; caused Plaintiffs and Class members significant out-of-

pocket expenses for out-of-network provider payments; prevented Plaintiffs and Class members

from enrolling in a plan with better benefits (including lower costs); caused Plaintiffs and Class

members to reduce spending on necessities and other life costs; prevented Plaintiffs and Class




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members from making informed financial and health care decisions; and caused Plaintiffs and

Class members to suffer severe emotional and psychological distress.

        266. These violations of New York Insurance Law § 4226(a) were intentional and the

Defendant knowingly received premiums and other compensation as a result of such violations.

                                  FIFTH CAUSE OF ACTION

                                 Fraudulent Misrepresentation

        267. Plaintiffs incorporate by reference all allegations in this Complaint and restate them

as if fully set forth herein.

        268. Insurance companies have a statutory obligation to provide accurate and complete

information about their health care plans.

        269. The Defendant made deceptive affirmative misrepresentations and omissions to

Plaintiffs and the Class by publishing and disseminating misleading informational and marketing

materials prior to and during the open enrollment periods. The Defendant’s misrepresentations

were conveyed in Anthem’s “Benefits at a Glance,” the “Benefit Summary Book,” the “Service

Benefit Plan” (also known as the “brochure” and “official statement of benefits”), and the “Find

a Doctor” online resource. The provider directory itself, which members and prospective

members are directed to rely on, inflates and misleads consumers regarding the size of the

network and the availability of mental health providers.

        270. The omissions from these same resources were any reference to the limited number

of mental health providers who are actually in-network with Anthem and actually accepted the

Anthem insurance, or to the fact that members and prospective members have to utilize out-of-

network providers – and incur substantial costs – should they need mental health services.

        271. False representations include, inter alia, that providers listed on the provider

directory are in-network; that there are sufficient and available mental health care providers in


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that network; that members can rely on the directory to find and contact providers; that Anthem

has an adequate size network; and that mental health care coverage is comprehensive.

       272. Omitted and concealed from the representations were material and relevant facts

that Plaintiffs and Class members would have used in selecting their health insurance plan,

including, inter alia, the extent of inaccuracies in the provider directory; the true breadth of the

provider network; the likelihood that a member seeking mental health care would have to obtain

out-of-network treatment, and the costs of such services; and the number of hours and

expenditures that would be needed to be made to find appropriate mental health care.

       273. These representations and omissions, when considered as a whole from the

perspective of a reasonable consumer, conveyed that the Defendant’s provider directory was

accurate and broad, and that mental health care would be covered. A reasonable consumer would

attach importance to such representations and would be induced to enroll in such a plan.

       274. These misrepresentations and omissions alleged herein were intentional and

materially misleading.

       275. These misrepresentations and omissions have caused Plaintiffs and Class members

significant ascertainable monetary and non-monetary injuries. Among other injuries, the

Defendant’s misrepresentations and omissions have caused millions of dollars in damages;

forced Plaintiffs and Class members to delay and forego crucial and necessary mental health

care; caused Plaintiffs and Class members significant out-of-pocket expenses for out-of-network

provider payments; prevented Plaintiffs and Class members from enrolling in a plan with better

benefits (including lower costs); caused Plaintiffs and Class members to reduce spending on

necessities and other life costs; prevented Plaintiffs and Class members from making informed




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financial and health care decisions; and caused Plaintiffs and Class members to suffer severe

emotional and psychological distress.

        276. The Defendant willfully and knowingly made the false representations and

omissions alleged herein. Its inclusion of affirmative misrepresentations and omissions in its

marketing materials and provider directory was done intentionally to induce federal employees to

choose Anthem over other plans, thus increasing Anthem’s profits.

                                  SIXTH CAUSE OF ACTION

                                        Unjust Enrichment

        277. Plaintiffs incorporate by reference all allegations in this Complaint and restate them

as if fully set forth herein.

        278. The Defendant has been and continues to be significantly and unjustly enriched

because of its inaccurate and inadequate mental health provider network that violates federal law.

Because it portrayed its network as accurate and comprehensive, in compliance with federal law,

individuals selected its plans. These deceptive representations attracted increased membership,

thereby increasing Anthem’s share of the marketplace.

        279. Plaintiffs and Class members have conferred a benefit on the Defendant by

enrolling in Anthem plans and thereby directing their medical premiums to the Defendant.

        280. Plaintiffs and Class members have further conferred a benefit on the Defendant

because the Defendant’s inaccurate and inadequate network forces Plaintiffs and Class members

to pay a portion of the mental health care expenses that the Defendant represented would be

covered. Effectively, Anthem represents that its insurance broadly covers mental health care, yet

its bait-and-switch tactics ensure that it does not pay the full costs of actually covering mental

health care services.




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       281. The Defendant has thus enriched itself by reaping the benefits of increased

membership while reducing or eliminating its own coverage, reimbursement, and other financial

duties. This and other benefits were obtained at the expense of Plaintiffs and Class members,

who did not receive the full value of what Anthem represented.

       282. In addition, Anthem’s inflated mental health provider network makes it appear that

Anthem complies with federal requirements that its provider network be accurate and adequate,

thereby saving Anthem the costs of actual compliance with these requirements – shielding

Anthem from government investigation, and the associated costs, at the expense of its members.

       283. An unjust enrichment cause of action is appropriate because the Defendant failed to

make restitution to Plaintiffs and Class members for the economic and non-economic harms,

including out-of-pocket costs unjustly incurred, and more.

       284. It is inequitable and unjust for the Defendant to retain the benefits from falsely

portraying its provider network in a way that increases enrollment while decreasing the

Defendant’s obligations to comply with federal law.

                                    DEMAND FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that judgment be entered as follows:

       a. declaring that the instant action may be maintained as a class action under Rule 23 of

           the Federal Rules of Civil Procedure, certifying the Class as requested herein,

           designating Plaintiffs as Class Representatives, and appointing the undersigned

           counsel as Class Counsel;

       b. declaring that the Defendant’s actions violate federal law, including the No Surprises

           Act, Public Health Service Act, Employee Retirement Income Security Act, and

           Internal Revenue Code;

       c. awarding all injunctive relief permitted by law or equity, including injunctive relief


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          prohibiting the Defendant from continuing to violate federal law;

      d. awarding compensatory damages, restitution, disgorgement, and any other relief

          permitted by law or equity;

      e. awarding statutory damages and penalties in addition to actual damages;

      f. awarding treble damages;

      g. awarding punitive damages in an amount deemed appropriate by the Court;

      h. awarding Plaintiffs and the Class pre-judgment and post-judgment interest;

      i. awarding Plaintiffs reasonable attorneys’ fees and costs; and

      j. awarding Plaintiffs and the Class such other relief as this Court may deem just and

          proper under the circumstances.

                                             * * *

                               DEMAND FOR JURY TRIAL

      Plaintiffs hereby demand a trial by jury.

Dated: October 22, 2024

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                          Attorneys for Plaintiffs




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